Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 1 of 44



                              UN IR'ED STATES DISTRICT COU RT
                              SOU TH ERN D ISIR ICT OF FLORIDA             FILED BY                        D.C,

                                  CA SE N O :20-cv-20113-K M W                   SEF 16 2222
                                                                                  ANGELA E.NOBLE
                                                                                CLEFIK U,s.DISTLcT
                                                                               s,:).oFF'LA. - FT.LALJ.o.
   STEV EN F.H ELFA ND ,


          PlahltiF,

   5W.


   ESSLINGER W OOTEN M AXW ELL IN C.d/b/aBERKSHIRE HATHAW AY
   HOMESERVICESEWM REALTY;EDWARD PELOSO;EJPâ88BISCAYNEBLVD2712,
   LLC;and M RCELO STEINM AN D ER ,

          D efendants.

          OPPOSED M OH ON FOR LEAVE TO FILE SECOND AM ENDED COM PLAINT

          PlaintiF,inpm se,STEVEN F.HELFAND,I(hereafterCEHELFAND''Irespectfully
   submitstlzisM otionforLeavetohleaSecondAmended ComplaintEhereaftert1SAC.''j The
   proposed SAC isattachedhereto atExhibitA.

          D efendants,ESSLIN G ER W O O TEN M AX W ELL IN C .d/b/a BEM SH IRE

   HATHAWAY HOX SERVICESEW M REALTY r1EW M ''j,M ARCELO STEFNM ANDER
   ghereafterKISTEINM ANDER''j,EJP 888BISCAYNE BLVD.2712,LLC.hereafterREJP.''jand
   EDWARD PELOSO ghereafteriTELOSOO),havemetandconferredwithHELFAND and
   oppose thisM otion.



   1Helfandisnotan ordinaty prose,litigant,havinggraduatedf'
                                                           rom the University ofMiami,
   Schooltl
          /f,
            zrw inDecember1999.Plaintif wasadmittedtotheStateBarofcal# rniafor
   nearly twentyyçars. W hileno longereligibletopractice and disabled,Plaintiffdisclosesthisup-
   gonttotheCourtbecauselessenedpleading stnndardsfoïproselltigantsgenerally,areplainly
  inapplicable here.

  M otion forLeaveto Amend                 Page 1 of4                    Subm itted by PlaintiF
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 2 of 44




          Rule l5providesthatGGapartymayamend itspleading JwffY thecourt1
                                                                        çleave''andthat
   Gnl-
      t-lhecourtshould#eelygivejetzvcwhenjusticesorequires-''Fed.R.Civ.P.15(a)(2).
   H ELFA N D m oves to lile thesx c w ithin thetim e perm itted by the Courtin theA m ended

   Sckeduling Order. (Dkt.71). ThedeadlinetofileanyamendmentspursuanttotheAmended

   Scheduling OrderisOctober1,2020.(fJ.)
          AllowingHELFAND totiletheSAC would servejusticeandpromotejudicialefficiency.
   Further,therewouldbenosubstantialorundueprejudice,badfaith,unduedelay,orf'utilityin
   doing so.

          H ELFAN D w as able to strenm line and sim plify the SA C. The Courtw illnote H ELFAN D

   isno longerutilizing the standardrm se complaim .Itbrealcsoutliability asto each specifc

   Defendant.The allegationsare short,plain and non-conclusory.Each cause ofadion isavalid

   oneandarewithintheCottrt'sjurisdidion.
          H ELFAN D could notfully and satisfactorily am end earlierbecause HELFAN D needed to

   completekey depositions,which had been originally setin Jtme,2020;butthen m oved to

  A ugust,2020,so asto accom m odate newly appointcounselforEW M and STEm M AN D ER .

          M oreover,oneofthe key depositionshad to,agnin,bem oved to September 10,2020,so

  asto accom m odate the deponent,w ho w asrecovering from a tw o-w eek hospitalizatiom z

         HELFAN D couldnothavef'ully amended llispleadingtmtilfxking theSeptem ber10,

  2020,deposition.Afteritscompletion,HELFAND promptly reminded Defendantsofhis

  intentions,which had been disclosed beforehand.


  2Thepartieshavebeen working cooperatively on discovery and fivedepositionshavebeen
  completed to date,including ofHELFAND .Them rtieshaveapproxlmately fivem ore
  depositionssetto be completed com mencing September21,2020.

  M otion forLeaveto Amend                  Page2 of4                      Subm itled by PlaintiF
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 3 of 44



          Further,H ELFA'ND seeksto allege two new cotm tsalong w ith issues ofvicadous

   liability based on conductand practicesuncovered by HELFA'
                                                            N D in depositions. These new

   cotmtsandvicariousliability theoriesincludeclaim sthatareso closely intertwined with the

   originaljurisdictionallegations;soastoform thesamecaseandcontroversy.LeavetoAmend
   shouldbegranted.Shouldany DefendantobjecttotheSAC;theycanrenew anyprior
   dispositive m otions or flle a new one in due eourse.

                     CER TIFICATIO N O F M E ET AN D C O N FER EFFO RT S

          Pursuantto the LocalRulesoftlzisCourt,a1lpartieshave metand conferred. A proposed

   SAC wassubmittedto Defendantsforreview on September11,2020.A copy oftllisM otion was

   ôlrnished on Septem ber 12,2020. Cotm selfora11parties conducted rigorotls m eetand confer.

   In thisregard,H ELFAN D and cotm selcom m unicated w ith counselEW M and STEIN M AN D ER .

   EW M and STE             ER indicated thatthey wishtheCourttot'uleon thepending motion to

   dismissfirst. EW M and STEINM ANDER alsocontendthattheCotu'thasnojtlrisdiction over
  the tçvo state 1aAv clairxts.H ELFAN D and counselforEJP and PELO SO com m unicated via em ail

   and telephonically. C otm selforEJP and PELO SO contend thatnm endm entisfutile;thatthe

  proposedSAC doesnotstm eany valid causeofaction undertheFairHousingAct. Obviously,

  H ELFAN D disagrees.

   Septem ber 16,2020                           /S/Steven F,H elfand
                                                PlaintiF
  STEV EN F.H ELFAN D
  1400 SW 137TH AV EN UE,F 112
  PEC ROKE PINES,FL 33027
  786.676.1018
   I4OOSTEVEN-HELFAND@ GM AIL.COM



  M otion forLeavetoAmend                     Page3 of4                   Subxnittedby PlaintiF
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 4 of 44



                               C ERTIFIC AT E O F SERW CE

         1 H EREBY CERTIFY I aton this 16th day ofSeptem ber,2020,thata true and correct
   copy ofthe foregoing wasemailed and served on a1lcounqelforpartiesap enrin in 'saction.
                                                                                                  zz
                                                                                                   '
                                                                    -                            ?'
   September16,2020                        /S/Steven F.Helfand ./




  M otion forLeaveto Am end              Page4 of4                      Subm itted by PlaintiF
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 5 of 44




                                 UNITED STATES DISTRICT COU RT
                                 SOUTH ERN DISTRICT OF FLOIUDA

                                     CA SE NO :20-cv-20113-KM W




      STEVENF.
             HELF
                AND, E xhibit A
            Plaintiff,



     ESSLW GER W O OTEN M AXW ELL IN C.d/b/a BERKSH IRE HATH AW AY
     HOMESERVICESEF M REAL'I'Y;EDWARD PELOSO;EJP888BISCAYNEBLVD 2712,
     LLC;and M A RCELO STEINM ANDER,

            D efendants.

                  SECON D AM ENDED COM PLAINT & REO IJEST FOR JIJRY TO

            1.Plaintiff,inpm se,STEVEN F.HELFAND,IEhereafterCdHELFAND'!respectfully
     submitsthisSecondAmendedComplaintEhereafterE:SAC''),
                                         1. INTRO DUCTION

            2. This law suitstem sfrom discrim inatory anim usdirected towardsHELFAND;

     culm inating in and compounded by the unlaw fuldisposalofHELFAND 'Spersonalproperty by

     hislandlord due to such anim ius,with the participation ofothertortfeasors,asseparately

     described,inka,inviolationoftheFairHousingAct(hereafterAFHA''j.42U.S.C.j 3605.The




     1Helfandisnotanordinary,prose,litigant,havingraduated9om theUniversityofMiami,
     SchoolofLtzwi!lDecember1999.PlaintiffwasadmittedtotheStateBarofcallforniafor
     nearly twenty years.W hile no longereligibleto practice and disabledaPlaintiffdisclosesthisup-
     frontto the Courtbecause lessened pleading standardsforrm selitigantsgenem lly,areplainly
     inapplicablehere.

     SecondAmendedComplaint                   Page1of22                Helfandv.Steinmandezetal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 6 of 44




      SAC alsoallegeslocallaw claimspursuantto28U.S.C.91367(a),astheseclaimsaresorelated
      to theirfederalclaim sin thisaction thatthey form partofthe same caseorcontroversy.

                                          1. TH E PARTIES

              3. HELFAND iscitizen ofthe State ofFlorida and Broward County,Florida.Atthe tim e

      ofthe relevanteventsthattranspired,HELFAND wasa residentofM iam i-DadeCounty,Florida.

              4. Defendant,ESSLINGER W OOTEN M AXW ELL INC.d/b/a BERK SHIRE

     HATHAWAY HOMESERVICESEW M REALTY (hereafterHEWM '')isoneofthelargest
     residentialrealestateGrm sin theUnited States. ltisaFlorida corporation with itsprincipal

     addressat201Alham bra Circle,Suite 1060,CoralGables,FL.EW M served asthe property

     m anagerand realestate broker/agentforD efendantEJP 888 Biscayne Blvd,,2712,LLC.

     EhereafterREJP'')andDefendant,EdwardJ.PelosoEhereaherSTELOSO'I.
              5,DefendantM ARCELO STEINM ANDER Ehereafter:ISTEINMANDER'')isacitizen
     ofthe State ofFloridaand residesin M iam iBeach,Florida. STEm M ANDER isan employee of

     and/orrealtor/propeo m anageroperatingundertheauspicesofEW M 'srealestatebrokerage

     license pttrsuantto the law softhe StateofFlorida. STEINM AN DER'Sm ain-oficeand placeof

     businessisEW M 'Sfacility in M iamiBeach,Florida. STEINM ANDER,along with EW M ,

     servedagthepropertymanagerts)andrealestateagentts)and/orbrolcerts)forEJPandPELOSO
     attherelevmzttim es.

              6. EJP,is aFloridaLim ited Liability Com pany and wasHELFAND 'Slandlord.

     PELOSO isthe solem anagerand ownerofEJP. EJP transactsbusinessin M iam i,Floridaand

     ownsand/orcontrolstheresidentialpropertyat888BiscayneBlvd,,Unit2712Ehereafter<'the
     Unit.s

     SecondAmendedComplaint                  Page2of22               Helfandu Steinmandezetal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 7 of 44




            7,PELO SO isa citizen ofthe State ofFlorida,and residesin M iam iBeach,Florida,

      PELOSO ownsatten residentialrentalpropertiesin Florida,including the Unit.

                                         II. JUR I:DICTIO N AND V ENU E

            a. Bagi: for SubiectM atterJurl:dictlon

            8.ThisCourthassubjectmatterjurisdictionpursuantto28U.S.C.j1331,asHELFAND
     assertsfederalclaimsundertheFHA;under28U.S.C.j1343(a),etseq.,asHELFAND seeksto
      sectlrereliefunderfederalcivilrightslaws;andunder42U.S.C.j3613(a)(1)(A)asHELFAND
      seeksappropriate reliefregarding a discrim inatory housing practice undertheFHA.

            9.TheCourthassupplementaljurisdictionoverHelfand'slocal1aw claimspursuantto
     28U.S.C.j1367(a),astheseclaimsaresorelatedtotheirfederalclaimsinthisactionthatthey
     form partofthesam e case orcontroversy.

            b. Basig forPersonalJurisdiction

            10.ThisCourthaspersonaljurisdictionoverEWM ,STEINMANDER,EJPand
     PELOSO pursuanttoFed,R.Civ.R 4(k)(1)because:
                          A . each transactbusinesswithin the stateand havesuffkientcontacts;

                          B, each havc com m itted tortiousand discrim inatory actsw ithin the state;

                          C. each regularly conductbusinessin the state;and

                          D , each arecitizensand/orresidentsofthe state,

            c. BasisforVenue

            11.VenueisproperinthisDistrictunder28U.S.C.j1391(b)(1)asEWM,
     STEm MANDER,E.IPandPELOSO resideinthisDistrictinwhichitissubjccttotheCourt's
     personaljurisdiction,andpursuantto28U.S.C.j1391(b)(2)inthatasubstnntialpartofthe

     SecondAmendedComplaint                  Page3of22                Helfandv.Steinmandezetal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 8 of 44




      eventsorom issionsgiving rise to HELFAN D'Sclaim soccurred in thisDistrict. The Unitis

      located at888 Biscayne Blvd.,2712,M iam i,Florida 33123,and iswithin thisD istrict.

        IV. THE CORPORATE VEIL BETW EEN PELO SO AND EJP SHO ULD BE PIERC ED

             12. EJP doesnotm aintain corporatem inutes. EJP hasfailed to conductannualm cetings

      and properly opcratepursuantto theFlorida LimitedLiabilit
                                                              y Company Actascodified in FLA

      Stat.5605.EJPhascommingleditsresourceswithPELOSO andthereis:
                       A. alackofseparatenessbetweenthecomorationanditsshareholderts)and
                           EJP isan alterego ofPELO SO;

                       B. improperconductintheuseofthecorporationbytheshareholderts);and
                           im properconductthatwastheproxim atecause ofloss,asdiscussed,m ore

                           ftlll)?itt
                                    pt
                                     ï-tl.

             13.PELO SO and EJP com minglepersonaland businessfundsand otherassets,failing to

      segregate fundsofseparate entities.

                       A . PELO SO useshispersonalchecldng accountatTD Bank forexpensesof

                           EJP;and

                       B. PELOSO useshispersonalAmerican Exprtsscard forexpensesofEJP,

             14. PELO SO treatsthe corporation'sassetsashisown. PELOSO and EJP failto

     m ahztai!ladequate com oraterecordsincluding m eeting m inutesorfailto m aintain separation

     behveen therecordsofseparate entities.

             15. PELOSO form ed EJP,and othernew corporationswith the purpose oftransferrhzg

     the existing liability ofanotherentity. EJP usesthc sam ebusinesslocation orom ce and employs

     the sam e employees orattorneysin separateentities.


     SecondAmendedComplaint                   Page4of22               HelfanduSteinmande6etal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 9 of 44




            16. PELOSO and EJP arerepresentedby the sam e attorney.

            17. PELOSO failed to adequately capitalize thecorporation and haslooted itscorporate

     assetsand incom e.

            18. PELOSO hasused the corporation asan instrum entality fora single venm reorthc

     businessofan individualoranothercorporation.

            19. PELOSO failed to m aintain an arm 'slength relationship am ong the related parties

     and disregarded legalformalities.

      V. EW M 'S VIC ARIO US AND RESPONDEA TSUPERIOR LIABILITY FO R ACTIO NS
                               TAK EN BY STEINM ANDER

            20. EW M m ade agreem entswith STEINM ANDER to perform actsassociatcd w ith

     STEINM ANDER'Srepresentation and/orassistance ofEJP and PELOSO by expressagreem ent

     and/orratifkation and/oradoption afterhaving fullknow ledge ofthem aterialfactsand

     circum stances. Such ratifkation occurred by way ofexpresscorporate actsand/orby any other

     legalm eansemployed by EW M to approve any unauthorized oroffk iousactsofthosem ade in

     itsbehalf,and voluntarily acccpted thebenefksaccruing to EW M from the engagem entof

     STEIN M ANDER,EJP and/orPELOSO .

           21.A fterfullknowledge,and having fulllibcrty to decline the sam e,EW M adopted the

     agreementts)cum onere,taldngtheburdensthereofwiththebenefts.
           22. In perform ing hisduties,STEINM ANDER was doing so in fullaccord with the

     operating rules,proceduresand requirementsofEW M .




     SecondAmendedComplaint                   Page5 of22               Helfand v.Steinmande6etal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 10 of 44




             23. EW M duly authorized STEINM ANDER to talcea1lactionsSTEINM ANDER took

      on behalfofEW M ,EJP and PELOSO and then ratifed them by itsm anaging brokers,vice-

      presidents,and generalcounsel.

             24. EW M and STEINM AND ER are represented by the sam e counsel.

             25.EW M hasalso suffk iently participated in,m eddled and interfered w ith the tasks

      perform ed by STEm M ANDER.

       VI M

             26. EW M and STEINM ANDER wereproperty m anagers,agentsand/orindependent

      contractorsforPELO SO and EJP.

             27. Both EJP and PELOSO,eitherpersonally orthrough counsel,suffkiently

      participated in,m eddled and interfered with the tasksperform ed by STEm M ANDER and EW M .

             28. EJP and PELOSO m ade agreem entswith EW M and STEIN M ANDER to perform

      actsassociated w ith STEINM AN DER'Srepresentation and/orassistanceofEJP and PELOSO by

      expressagreem entand/orratifk ation and/oradoption afterhaving fullknowledgeofthe material

      factsand circum stances.Such ratifk ation occurred by way ofexpresscom orate actsand/orby

      any otherlegalm eansemployed by EJP and PELO SO to approve any unauthorized oroffk ious

      actsofthose m ade in theirbehalf,and voluntarily accepted thebenefitsaccruing to EJP and

      PELOSO from the engagem entofSTEIN M ANDER and EW M .

             29.A fterfullknowledge,and having fullliberty to decline the same,EJP and PELOSO

      adoptedtheagreementts)cum onere,takingtheburdensthereofwiththebenefts.




      SecondAmendedComplaint                  Page6of22                HelfanduSteinmande6etal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 11 of 44




             30. In perform ing theirduties,EW M and/orSTEINM AN DER were doing so in full

      accord with the operating rules,proceduresand requirem entsofEJP and PELOSO.

             31. EJP and PELO SO duly authorized EW M and/orSTEINM AND ER to take a11actions

      STEINM ANDER took on behalfofEW M ,EJP and PELOSO and then ratifed them by its

      shareholderts)and/ormanagerts),
         VII. V ICARIO US AND RESPONDEA TSUPEM OR LIABILITY BY EJP.PELO SO.
          STEIN M ANDER AND EW M FO R M Y ACTION O R INA CTIO N BY FLO RIDA
                       ATTOR NEY & N ON-PARTY.ALBERTO CA RD ET

             32. Attom ey Cardetisa m emberin good standing ofthe StateBarofFlorida.

             33. Attorney Cardetisnotaparty to thisaction.

             34. STEINM ANDER recom m ended Attorney Cardetto EJP so asto serve aseviction

      counsel.

             35.Attorney Cardetwasand isthe actualand apparentagentofEJP and PELOSO ata11

      relevanttim es,including during and aftertheeviction procedure in StateCourt.

             36.Attom ey Cardethad the actualand apparentauthority to speak and to actforhis

      clients,EJP and PELO SO,in thosem attersnecessary orincidentalto the accom plishm entofthe

      purpose ofhisretention.

             37.Attorney Cardetdid notexceed the scope ofhisrepresentation and al1actionstaken

      by him w ere with actualorapparentauthority conveyed by EJP and PELO SO . lfAttorney

      Cardetdid exceed the scope ofhisrepresentation,a11such actionswere neverthelessratised and/

      orauthorized by EJP and PELOSO .

             38. Attorney Cardetprovided legaladvice and instructionsto STEm M ANDER and

      EW M ,which they,also,followed,authorized and ratified,


      SecondAmendedComplaint                  Page7of22               Helfandu Steinmandeöetal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 12 of 44




             39. STEINM ANDER receivedA ttom ey Cardet'sinvoices,engaged with Attorney Cardet

      to discussand fram ethe substantiveissues,and wasresponsibleforA ttom ey Cardet'sdirect

      supervision.

             40. Based on inform ation and belief,Attom ey Cardetdoesnothave awritten retainer

      agreem entwith EJP,PELOSO,EW M and/orSTEINM AN DER.

             41. Based on inform ation and belief,Attorney Cardetdoesnothavea written conflict

      waiverbetween EJP,PELOSO,STEINM ANDER and/orEW M ,

             42. STEINM ANDER prepared eviction docum ents in Hcoordination''with Attom ey

      Cardetand wasA ttom ey Cardet'sliaison w ith EJP,PELOSO,EW M and third partics.

             43. STEINM ANDER stated thatSTEIN M AND ER and EW M wererepresented by

      Attorney Cardet,andAttorney Cardetw asresponsible forhandling affairson theirbehalf

      relating to a11m attersatissuehere.

             44.A ttorney Cardetwasalso theagentofSTEINM ANDER and EW M ,

             45.A ttom ey Cardethad theactualand apparentauthority to speak and to actfor

      STEINM ANDER and EW M in those m attersnecessary orincidentalto the accom plishmentof

      thepurpose ofhisretention.

                            VH I. GENERAL FACTUAL ALLEG ATIO NS

             a. H ELFAND 'S Rentalofthe Unit

             46.A true and correctcopy oftherentalagreem entforthe Unitis attached asExhibltA.

      HELFAND prepaidtherentfortheone-yearterm,andprovideda$3,000.00secmity deposit,

      Thenet-paymentmadetoEJP was$39,000.00.




      SecondAmendedComplaint                 Page8of22               Helfandu Steinmandeöetal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 13 of 44




               1, 1:       '                @ *               '           *    t*     (1
           @




               47. ln August,2019,EJP,tk ough co-Defendant,PELO SO,contacted HELFAND

      telephonically,and speciik ally dem anded to know HELFAND 'Ssexualorientation. There was

      no legitim atebasis forsuch an inquiry.

               48. PELOSO conlrmed thatEJP had obtained visitorlogsfrom the condom inium

      security desk;indicating late nightvisitors,who allhappened to bem ale.Because ofthe

      ostensiblegenderofthe visitors,PELO SO indicated thatPlaintiffwasG*dehaslnz''hisproperty

      and dem anded thatHELFAND leave;because oftheim plicitsuggestion H ELFAN D w asRgay.''

               49. ln responseto aprofanitp laced rantby PELOSO inquiring asto HELFAN D'S

      sexualorientation and gender-identity,HELFAND stated,GYes,I'm gay and l'm HIV positive

      also.W hatdoesthishaveto do with the lease? lpaid ayearin advancel''

               50, HELFAN D thereaftercontacted PELOSO and indicated HELFAN D had no intercst

      in renewing the lease.

               c. :TEIN M AND ER and EW M Announce They are Property M anagergforthe Unlt

               51. STEIN M ANDER and EW M surfaced in nlid-septem ber,2019.

               52. STEIN M AN DER stated thathe and EW M weretheproperty m anagersand real
      estate agents forEJP and PELOSO .See,e.g.,ExhlbitB rsiened bv M srcelo gtelnm ander and

      lndicatlng he igthe property m anagerand prepared by him . Exhibl
                                                                      *tB further indicate:

      thattheN otice was prepared Ain r/zv#/zzrf/ia''wlth Attornev Cardetl.




      SecondAmendedComplaint                    Page9of22            HelfandM Steinmande6etal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 14 of 44




             53. ln m id-september,2019,STEINM AN DER told HELFAND thatboth he and,

      ostensibly,EWM werethepropertymanagerts)andrealtorts)fortheUnitandgaveanEW M
      businesscard to HELFAN D .

                     i. H ELFAN D Related a N um ber ofProblem swith theU nitto
                     STEINM A ND ER w hich STEINM AN DER Ienored onlv to Later Relv Upon
                     Them to EvictH ELFAN D on a Pre-TextualBasig.

             54. HELFAN D vcrbally outlined ahostofissueswith tlleUnitthatrequired som e

      scrutiny,including with the electricalbox,wiring and plum bing to STEINM ANDER.

             55. HELFAND also noted ongoing problem sw ith the airconditioning system to

      STEINM AND ER.

             56. STEINM AND ER stated thatHELFAN D needed to sign overa1lhisLçrights''to the

      unit,alongwith hisfllmishingsand alt which madenosense,HELFAND presumed

      STE         DER w asreferring to :çdigital''rightsbecause he wanted to take photographsofthe

      unitw ith HELFAND 'Sfum ishingsexhibited. STEm M A NDER com m ented thatthe fum iture

      looked extrem ely valuable and could help him in thecontextoflisting the Unit. HELFAND

      suggested thatSTEINM AN DER send him whateverdocumentshe wanted IIELFAND to sign,

      and HELFAND would review them . HELFAND alsorequested thatSTEINM AN DER provide

      proofofinsurance so thatifsom ething happened during atourorshowing,HELFAND wouldbe

      protected. STEINM AND ER ncverdid,a1lthe while accusing H ELFAN D ofnon-cooperation.

                    @l
                    l@.                                   j                j     @

                          @ *




             57. In m id-septem ber2019,STEINM ANDER demanded thatHELFAN D çtm oveout

      imm ediately,''in spite ofthepre-paid rent.


      SecondAmendedComplaint                   Page10of22             Helfandu Steinmandenetal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 15 of 44




             58. STEINM ANDER stated thatEJP and PELO SO did fçnotwanthim any m ore''when

      HELFAND inquired abouta proposed resolution and issuesrelating to renewalornon-renewal,

             59. H RLFAN D,atleastaccording to STEINM ANDER,:shad bad karm a because he

      wasgay.W edon'tIreferringtoDefendantEJPI,needyou herel''STEINM ANDER furthcr
      stated,HYou are devaluing @ur unitl''

             60.Trying to m itigateal1issuesand disputesso asto getalong,HELFAN D had

      suggested H ELFAN D could conceivably m ove-outearly butwould wanta return ofhis security

      depositzndpro-rated rentreturned fortheunused period. STEINM AND ER ultimately ignorcd

      thisproposal.

             61.STEINMANDER alsospecitkallythreatened,justbeforeconcludinghisvisit,that
      HELFAND wouldbemonitoredGkoingforwartî';knowingthatSTEINM ANDER hadobtained
      inform ation from a thirdparty suggesting HELFAN D w assufering from paranoiaand anxiety.

             62. STEINM ANDER visibly re-coiled afternoticing an em pty bottle ofHELFAND 'S

      HIV m edicine on the kitchen counter-and proceeded asifthe entireapsrtmentwas

      Lçcontaminated.'' STEINM AN DER then m ade a sudden retreatfrom the Unitwhich wasplainly

      evidenttoHELFAND astothereasonts)why;givendirectobservationts).
                      111.




             63. STEINM AND ER obtained,unverified and erroneousinform ation from a third-party,

      preparedforlitigationpurposes(tofacilitateanevictionagainstHELFAND),suggestingthat
      H ELFAN D w asa 6çdrug-addict'and suffered from paranoia.




      SecondAmendedComplaint                  Page11of22            Helfandu Steinmandeöetal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 16 of 44




             64. STEINM ANDER then distributed this,and other,salaciousinform ation to EJP and

      PELO SO,asifitwere factual,when itw asnot. STEIN M A NDER m ade no attem ptsto verify

      any ofthe information,including discussing itw ith HELFAND ,

             65. STEIN M AN DER recom m ended to EJP and PELO SO thatHELFAND be evicted on

      these grounds,so asto purportedly,protectH ELFAND from him self.

             66. Recognizing thatbeing a purported,fsdm g-addict''isnota valid basison which to

      orchestrate an eviction,STEINM ANDER Rcoordinated''zpre-textualbasisw ith Attorney

      Cardet. In doing so,STEINM AN DER and EJP,along with Attorney Cardet,m isled the eviction

      Courtsoastoobtainadefaultjudgment,givenHELFAND'Sincapacityandinabilitytorespond,
      a11the whilerefusing to comm unicate.

                     13/.

                        @         @           @                                 *                 $
                       @     ;


             67. So asto gain tacticaladvantage dueto shortened noticeperiods,the eviction of

      HELFAND wasbased on acontrived and non-delivered noticeofterm inatioh,

             68. STEINM ANDER signed thenotice asa service-agentbeforethe notice wasserved,

      sentitby U.S.m ailand notdelivered personally to HELFAN D in spite ofattesting to the

      contrary,andneverreaditforaccuracyinspiteofGçcoordinatinf'initspreparationandsendinga
      confirming copy ofitto PELO SO.




      2HELFAND isnotcollaterally attacting the eviction orchallenging ithere. Rather,H ELFAN D
      contendsthatthe actionstaken by STE            ER andAttorney Cardetaresubstantial
      evidence ofFHA violations and taken illfartherance ofearlierdiscrim inatory animus.

     SecondAmendedComplaint                   Page12of22              Helfandv.Steinmandeöetal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 17 of 44




             69. STEW M ANDER and EJP orchestrated thebaselesseviction solely to take advantage

      ofHELFAND 'Sfragile m edicalstatus.3

             70, Theeviction wasbrought,approxim ately,one m onth priorto the lease ending date,in

      spite ofthe factno m oney wasowed forrentand in spite ofHELFAND 'Sfragilem edicalstatus;

      forreasonsal1instigated and driven by animus orotherunfounded claim s.

             71. HELFAND defaulted on the eviction and ultim ately wasdetained afterbeing tk own

      into apsychoticepisodeinstigated by thc very tacticsherein com plained aboutand alleged to

      have occurred,occasioned by thtpre-textualeviction and STEINM ANDER'Sintentional

      triggering ofanxiety and depression in HELFAND based on the earlierclaim thatHELFAND

      wasbeing Gnmonitored-''

             d. STEINM AN DER DispogesofH ELFAND': PersonslProperty AFTER Exeeution
      oftheW ritofPosgesgion BecauseNTEINM ANDER Believed HELFAND'SProperW wa:
      çGcontamlnater wlth HIV.
                             .and Even Though gTEINM ANDER Knew H ELFAND W anted
      to Loeate and RecoverHELFAND'SProperty.

             72. Afterexecution ofa writofpossession on Novem ber 1,20199STEINM ANDER

      unlawfulV disposedofallOJHELFAND %'propert.
                                                vbecauseSTEINMANDER andEJP
      bellevedf/wasf'zlzzzezz-Mzzvz''byHlvandlnfurtheranceofadiscrlmlnatoryanlmus.
                            i. HELFAN DN Taneible PersonalPropertvw asW orth
                            Approxim atelv $300.000.00 and Included:

                                 A. artand fine lithographsofJulesCheret;



      3M tertlliswnrning,accordingtoinformation andbeliellSTE              ER orchestratedasedes
      ofintnzsionsinto thelmitso asto destabilize HELFAND .PELOSO contacted FP&L to disable
      the powerto theUnitand to cut-oX terminate serdces,occasioning considerable skessto
      H ELFAN D dllring the s'lm merheatin M inmi,and aggravating H ELFA ND 'Sserioushealth
      conditions. Thesame with internetservices. 'I'he intem zption ofthese serviceswasbased on and
      dueto discrim inatory animus.

      SecondAmendedComplaint                 Page13of22               HelfandM Steinmandezetal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 18 of 44




                            B. Iinefurnishings;som e purchased from the Urban Chateau in

                       San Francisco;

                            C. gilded m irrorsw ith closed end-fram es,oneofakind,designed

                       by a noted designer;

                           D . about100 collection books;

                           E. electronic equipm ent,including KEF Reference SeriesSpeakers;

                           F, an LCD television;

                           G. laptop computers;

                           H. a gilt-w ood coffee tablein the beaux arts style;

                           1, fm echairs;

                           J. anew mattress;

                           K . bedding;

                           L. com puterequipm ent;

                           M . Gne china,cutlery;

                           N, highlypersonaleffects,jewelry;
                           0. rugsfrom Turkey and Persia;

                           P. kitchen utcnsils;

                           Q. cash;
                           R. bitcoins;

                           S. a1lclothingEincludingfourDolce&:Gabbanajacketsanda
                       BrioniandPradaJacketq;
                               personalpapers;


      SecondAmendedComplaint            Page14of22               HelfanduSteinmande6etal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 19 of 44




                                 U. objectsofarq
                                 Vt m anuscripts;

                                 W . personalphotographsofenorm oussentim entalvalue;and

                                 X. receipl,paperwork andmedication.
             73. Every item ofproperty owned by HELFAND,acquired overanearly twentp year

      tim e-fram e,was inexplicably disposed of,asifitwere som ehow garbage,which itwasnot;and

      asifthiswassomehow responsible,whichitwasnot,andshouldnothavebeen,lnsplteof
      repeateffortstolocateandrecoyerthepropert.
                                               vdocumentedinwrldngbyHELFAND.
                    #l
                    l@.                      *                                 ;
                                      @




             74, Attom ey Cardetrefused to comm unicate,in any m anner,with HELFAND so that

      HELFAN D could locate and recoverhispersonalproperty. Sce ExhibitG ,

             75. HELFAND had attempted to contactA ttorney Cardetmultiplesoftim es,via em ail,

      certised m ail,and telephonically,to no avail,in addition to contacting STEINM AND ER,EW M

      andPELOSO beforethepropertywasdisposed,
             76. STEINM ANDER w ould notdivulgewhere HELFAND 'S property w asbecause

      Attorney Cardethad instructed STEm M ANDER notto com municate with IV LFAND.

             77. PELO SO refused to directly com municatew ith HELFAN D asw ell,ostensibly based

      on the sam einstructions from Attom ey Cardet,

             78. EJP and PELOSO,throughA ttom ey Cardet,ins% cted STEINM ANDER and EW M

      notto com municate,in any m mm er,w ith HELFAND ,in spiteofthe factthatboth




      SecondAmendedComplaint                 Page15of22              Helfandv.Steinmande6etal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 20 of 44




      STEINM AN DER and EW M knew thatHELFAN D wasinquiring asto the location ofhis

      personalproperty so thatitcould berecovered.

              79.Thewr//ofpossessioninstructedthatquestions9om anyone,includingHELFAND
      bedirected to eitherSTEINM AN DER orAttorney Cardet.

                     @1
                     1@1
                       *.                                       $                         *
                                                                        t
                                          @           B     @       t                  @ @ @
                             t

              79. On Novem ber6,2020,HELFAND was finally able to reach STEINM ANDER on his

      cellphonebefore 7:00 mm ,in them orning;the dlsnosaloccurred :1 hours later. See Exhibits
                                                                                  -




      E-G .

              80. H ELFAND told STEINM ANDER thatHELFAND w anted to find outwherehis

      property w aslocated so itcould berecovered.

              81. W ithoutbothering to shed any lightorinform ation asto thewhereaboutsorstatusof

      theproperty,and afterthisrequestw asmade by HELFAN D,STEINM ANDER hung-up on

      Plaintif,keeping HELFAND completely in the dark. The sam e resultoccurred when Plaintiff

      called PELO SO. Othereffortsto reach EW M w ere unsuccessful.Thisisa11docum ented in

      confirm ing em ails.Additionally,the condom inium association,told STEINM AND ER thatit

      w ould notand could notbe involved in any aspectofthe fum iture disposal,otherthan reserving

      elevators,ifnecessmy SeeExhibitC.

              82.A11callsm adetoAttorney Cardetw entstraightto voicem ail,M ultiplesofm essages

      wereleft(includingoneachdayprior);butAttorneyCardetfailedand/orrefusedtorespondtoa
      single one.



      SecondAmendedComplaint                  Page16of22                    Helfandu Steinmande6etal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 21 of 44




              83.                %

      whereaboutsofhlsnersonalnronertvand recoverf/asearlvas October31.2020.

      STEINMANDER permlttedJ###-GOF-.TCW # to#z
                                              # /.
                                                 çet?ff/le-qm-
                                                             fzer@ aqvwqv.SeeExhibits
      E-G .

            e. STEINM ANDER and Attorney CardetAttem ptto Cover-up IaiaM litv By
      Inqatlng Dam agesto theUnitAl-leeedlv CaRsed IF IIELFAN D.

              84. 0n Novem ber 14,2019,STEINM ANDER,w ith approvalfrom Attorncy Cardet,

      statethedamagestotheUnitexceeded$10,000.00;identifyingavariety ofrepairsclaimedtobe

      attributable to Plaintiff. SeeExhibitD . n eserepresentationswereunfounded and

      unreasonable,and only m adebecause STEINM AN DER knew thathe,on behalf,ofEW M ,EJP

      and PELOSO ,proceeded unlawfully in the disposalofHELFAN D 'Sproperty based on

      discriminatory animus.

              85.HELFAND timelymadeanobjectionanddemandedreceipts,invoicesand
      documentationtojustifythedamageclaim.Noresponsewasreceived9om EJP,
      STEINM ANDEK PELOSO orAttorney Cardet.
              86. STEm M AND ER adm itsthatSTEINM AN DER nurnq%efullv l
                                                                      W /& /e# thedamages

      allegedlycausedtotheUnitasG*muchaspossible'':7l/J/incase.'' Thiswasinreferenceto
      liability fortheunlawfuldisposalofproperty and the claim sattributableto discriminatory

      animus. ExhibitD .

              87. STEINM ANDER and EJP claim dam agesforwork thatwasneverdone;failed to

      docum entany work actually completed;and now relieson a seriesofinvoicesfrom unllron.
                                                                                          qprl

      contractorswhowerepurposefullyhiredtojustifyworkthatwasnotreasonablyattributableto


      SecondAmendedComplaint                  Page17of22               Helfandu Steinmande6etal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 22 of 44




      HELFAND orotherwisereasonableso asto dodge liability orobtain a set-off. No signifcant

      repairswere m ade orcan bedocum ented;a11occasioned by discrim inatory animus.

                                       IX. CAU:E: OF ACTIO N

                                  FIR ST CAUSE O FA CTION         -


                                     FAIR H O USING A CT
                 BY H ELFA ND AG AINST EW M .STEIN M AND ER.EJP A PELOSO

             88. HELFAND incorporatesby referenceParagraphs 1-87,asiffully setforth herein.

             89. TheFHA makesitunlawful&foranypersonorotherentitywhosebusinessincludes
      engaging fa residentialrealestate-related transactions to discriminateagainstanyperson in

      makingavailablesuchatransaction,orinthetermsorconditionsofsuchatransaction,because
      ofrace,co/c religion,sex,handicapyfamilialstatus,ornationalorigin.'' 42U.S.C.9 3605(a).
             90. Plaintiffisaprotected classm emberand received disparatetreatm entasadirect

      resultofPlaintiff'ssexualorientation,H1V Positive stam s,gender-identity,and perceived ç'drug-

      addictEedq''status.Plaintiffwastreateddifferentlyfrom similarlysituatedrentersand/ortenants
      by EW M ,STEm M AND ER,EJP and PELO SO.

             91.HELFAND isanaggrievedpersonasdefnedbytheFairHousingAct,42U.S.C.9
      3602(i),andasadirectandproximateresultofSTEINMAMDERandEJP'Sunlawful
      discriminatory conducthave sustained dam ages.

             92. In particular,tlzeFHA violationsoccurred because ofHELFAND 'Ssexual

      orientation,H1V Positivestams,gender-identity,andperceivedHdrug-addictfedl''status.But,
      forthese protected stam s'ofHELFAND and the,improper,anim usbased thereon;EW M ,

      STEINM ANDER,EJP and PELOSO would nothaveviolated theFHA and discrim inatcd against

      HELFAN D.


      SecondAmendedComplaint                  Page18of22               Helfandu Steinmandezetal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 23 of 44




             93. HELFAND suFered dam agesthatwereproxim ately caused by discrim inatory

      anim usorchestrated by EW M ,STEm M ANDER,E.
                                                 TP and PELOSO .




             94. HELFA ND incorporatesby referencc Parap aphs 1-87,asiffully setforth herein.

             95. HELFAN D ownsorhastherightto possessthepersonalproperty in question atthe

      timeoftheinterferenceorunlawfuldisposal, Paragraph72(i),supra,liststheproperty
      converted by STEm M AN DER.

             96. STEINM ANDER intentionally interfered with the HELFAND 'Spersonalproperty.

             97. The interference deprived HELFAND ofpossession oruse ofthepersonalproperty

      in question,

             98. '
                 I'
                  he interference caused dam agesto HELFA ND.

             99,The conversion did notamountto m erely tem porary interferencew ith property

      rights,butthe exercise ofunauthorized dom inion and controlto the com plete exclusion oftlw

      rightfulpossessor.

             100,HELFAND w asdam aged by theconversion ofhisproperty.

                               TH IRD CAUSE O FACTION
          IN TEN TIONAL INFLW H ON OF EM OTIONAL D ISTREM PUM UAN T T0 THE
                         CO URT'S SUPPLEM ENTAL JURISD W H ON
         AG AIN :T DEFENDANT STEINM ANDER.EW M .EJP & PELO SO BY H ELFAND

             101. By unlawfully disposing H ELFA ND 'Sproperty,when STEW M AN DER knew that

      HELFAND wasattem pting to recoverit,STEINM ANDER was deliberateorrccklessand

      inGicted m entalsufering.



      SecondAmendedComplaint                  Page19of22               HelfanduSteinmande6etal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 24 of 44




             102. The disposalofpersonalcontentsby STEIN M ANDER am ounted to outrageous

      conduct.

             103.The conductcaused HELFAND em otionaldistress,

             104.The distresswassevere. STEIN M ANDER'Sactionswere outrageousand reckless,

      designed to intlictsevere emotionaldistresson H ELFAN D.

             105. H ELFAN D suffered dam agesasaproxim ate result.



            W H EREFORE,HELFAND respectfully requestsFinalludgmentagainstEW M ,

      STEINM ANDER EJP and PELOSO asfollows:
            m O n theFirstCauseofAction

                   (a) FindingthatEWM 's,STEINMANDER'S,EJP'SandPELOSO'S
                       discriminatory actionsand inactionstaken practicesviolàted thc Fair

                       HousingAct,asam ended,42 U.S.C.93601etseq.
                   (b) FindingthatEWM andEJPandPELOSO havevicariousand/orrespondeat
                       superior liability forthe actionstaken by STEINM AND ER and Attonwy

                       Cardet.

                   (c) FindingthatthecorporateveilshouldbepierccdasbetweenEJPand
                       PELO SO.

                   (d)AwardingsuchdamagestoHELFAND aswillfullycompensatehim.
                   (e) AwardingpunitivedamagestoHELFAND.
                   (9 A11damagesandcostsforwhichheislawfullyentitledtoreceivepursuantto
                       theFairHousingAct.


      SecondAmendedComplaint                Page20of22               HelfandM Steinmande6etal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 25 of 44




             b. O n theSeeond CauseofAction

                    (a) FindingthatSTEINMANDER convertedHELFAND'Spropcrty.
                    (b)FindingthatEW M andEJPandPELOSO havevicariousand/orrespondeat
                       superiorliability forthe actionstaken by STEIN M ANDER and Attorney

                       Cardet.

                   (c) FindingthatthecorporateveilshouldbepiercedasbetweenEJPand
                       PELOSO .

                   (d) AwardingsuchdamagestoHELFAND aswillfullycompensatehim.
                   (e) AwardingpunitivedamagestoHELFAND.
            c. O n the Third Cause ofAction

                   (a) FindingthatSTEINMANDER inilictedsevereemotionaldistresson
                       HELFA ND.

                   (b)FindingthatEWM andEJPandPELOSO havevicariousand/orrespondeat
                       superiorliability forthe actionstaken by STEINM ANDER and Attom ey

                       Cardet.

                   (c) FindingthatthecomorateveilshouldbepiercedasbetweenEJPand
                       PELO SO .

                   (d)AwardingsuchdamagestoHELFAND aswillfullycompensatehim.
                   (e) AwardingpunitivedamagestoHELFAND.
      Respecfullysubmittedhy:
      D ate:Septem ber 10th,2020              /S/Steven F.H elfand
                                              Plaintiff,in pro se
      STEVEN F.HELFAND


      SecondAmended Complaint              Page21of22                Helfand 1:Steinmandeöetal.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 26 of 44




      1400 SW 137TH AVEN UE,F 112
      PEM BROIQE PW ES,FL 33027
      786.676.1018
      I4OOSTEVEN.HELFAND@GMAIL.COM




      SecondAmended Complaint       Page22 of22       Helfandu Steinmandeö eta1.
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 27 of 44


    600000 AAAH-SW-C!                                                                                    600000 l;Aa-SW-OI

                                                                         l
          .
          - - 4tt
                œ                                                        l                           :1
                                                                                                      *r%
                                                                                                        '
                                                                                                        t
                                                                                                        I
                                                                                                        l:
                                                                                                         z
                                                                                                         *K
                                                                                                          ej*
                                                                                                            rx
                                                                                                             *pl
                                                                                                               >
                             @lnlee - ei?0pm                             I                                       On
                                                                         l                   .


                                #
                                  - A zo
                                     .


    :v4t8 p                     f; > u m ,                               l                4. . .,,
                                 f- *1   -
                                                        '- * ItlalqMj                                             î!
                                                        x a 0)xg,o spjsusj
                                                                         s m ysjo wujsxm j -
                                                                         ;

                                                                         j               '
                                                                                         qsgea>ezuoI %
                                                         'œlW % 1M W         œ 11
                                                                                *1M ee    * @ulD)@q1uo> em e
                                                               (- *)
              m q4W - - b-  œ - e                                                'ep- loe - ezns- m
               >- * u- gœ ptx**-  '- x)uue)e *1:#*m -                        N œ em wle olwqMmukelpue
                                t-
                    &                              'œe zol* xR4* 1el
                                                                   !
                                                                   jltmMuem-3..
                                                                              omlu!a'q
                                                                                     ..
                                                                                      '.Mu!= & DplM?
                    t-     wulp- - e Auoe - qleql- -                     1        )
                                                                        4:I
                                                                          + 1 eç-jlamma- pm puqopuemru
              @** -         * @e * @> 9- q- e -               JW    1                                    '
                                                                                                         ë> œM
                    > e- *- e - u- **1œ @* eu** *lO'< *j ' !R9e*                                  l@z          etp-
              e- o          -        M -*     e - sœeeR M - pO e e* - *c loz- e ep e e                           -
               xan- v u- eœ- œ-pwujoaee- - el -uwl      nuewlo(
                                                              q)jz.o;qna
                                                                      '
                                                                      #n* U!Gll
               yl
                '-a'
                   zall
                      -l
                       - aeNm*t:#>,*eMaI
                                       I
                                       *p- '
                                           @lB*.
                                               T '@JmR!
                                                      *.
                                                       (-e.'
                                                           >t
                                                            lMe1 p11*= . *1 *
                    I
                    - ee>ue - zaz-xueelmoqleq)- m* l                              y)             d


                         sga m M x'
                                  =e@d-
                                     ;g-     m. œzqee gz>lozu
                                        x 'oleu              !wmz
                                                           Aueuayw
                                                                 zozp-
                                                                    opzqyyq-  olaaa
                                                                           aulol   #-n@;> >
                                                                                  zn             > v awz       aNo '
                                                                                                                   t
                                                                        TI    '
                                                                              e Im MW@ul> - *Am1lle'qe a
             - *&I> * 1 Y * - 2<                              :u.
                                                                '>. œ!ao;œ- p-Wz@plq- **- H 'r
*                                                  *<
                                               MW%N B----M œ#l* *MU< 9> :e ujEMle-Kllo;pa l 'j
                                             tqxeolex @Y >..!x nxl- p            - epo * '   peuel
                                          . *110'A'> e UlI)uI11:@;B n0
             PY 90 1* '!!M a Y M Mlq1*lQ:œ?                          ,# œte IW ltlBtl91JD Fœpœj@qj         -
             o,       xe xu< em:> noA uug lx- e*          mt uje no pm)e : ...n .4sxoo uj
                                                                        :
         3Jv?'*>>wt1            ze-%-                                                    *'''--lW 10 âWXM''#IU@N
                1jjjslljïI14)(jf
         l9l.ll1.
                               -
                               N
                               cj.
                                 )
                                 -. --




600000AAAR-SW-GE                                                    V l)1ql%XR                          600000WARR-SW-GI
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 28 of 44
 CD-MS-EVVM B00010
                                   Yk *î&ezKI* lt-BF ('
                                                      Tv@aqz
                                                           .
                                                           --
                                                            2 u4ECV 8D
                                                                     e-
                                                                      +n
                                                                      MS-
                                                                        t
                                                                        EMVM0n0n10
       RE/ DENM AL IM SE F0R APARTM I OR UNIT IN MULM -
       FAMILY RENTAL HDU*ING G THER   N A PUPO                                                         -
       Iscuuo,xowsosl- uoslcoxob...Iu.,oR                                                            ',T9-I'l-llgks'
                                                                                                      . ...          1,,.
                                                                                                                   Rtlw E$
                                                                                                                         $-:,:
       CO PFM M              IFORA TF*@ NDTT: ExcFpn 0NEY* )
                             (No'<o B*U- F- mmv e.A- e r/.*r* *rR* * P- o )
       WARM X ;IT IS W RY IMPORTAW T0 R* 8tL OF TI:E lmM e X CFIJLLY.TNE IR v IMPX S lMO &T<                                        œ GAt
       OBUGAMONS                                        i
       ANASTERISKO ORA G ANKSPAV f                      IINaM TESAPRQKSIONO EREAœ OI
                                                                                   CQO A9F.Q>                            MQW BQManF
       A THE PARTSES
                                            !
       NO R NGQS OR ADDITIONS TQ THISFDRM MAY BE MADE UNLEK A LAWYER IS O NSULTO .
       LTeqMsAN9eAmles.wspaaIe- (*e *-7forapen-or l  1- -----(- n.- Tex,> ng
                                                  (...x x)
               H1+          l: :vdeoo,.œ 0FHe .MM 2@lG ... .                                                                   .

               P (f* .*.#I
                         ee                                                    (c- .ey,-                                               a,z

       WALT/E TQ% nlux sulsM @ll
                              ftAl&
                               .  le
                                   lltf
                                      #e.
                                        y7
                                         M-:**
                                             .
                                             *:
                                              R)*-Aaph                                                        m l                       uu
                     (* *Q-- **W m*     ' -
       (I
        nqleLe- wee er.e d*er- orm= .d                      mop- K œ ed'tm - d'A,ers- o *'- **-                            * *-        ee
       caeu-renankn
       LR * A e.e Ae r- :
       L- eresTe pe eNpm- ;
       TenR rsE.- Ae ess;                               I
       TeqanrsTele opeNue                               I
       :.PR/POR n*- n.tmerd l- sto Aen- -                                 . wa ,o.Z5 17-                  1 *e -               -        -
             @88                               û                                                                                   .,.. .
             m e                                   (.!           1
                    tm        h 4)ç                  :                                         u Alt
                               (-   --     -- -             -1                                                 (o )
       s-i.    ER t5 C..x-er- eef. g1m.u,.w,dw ,
                                               - ;
       * 161maur h
                 l*M; -@ jN ,œ IDO xQ.txy
                    .                                                                                 .N
       A?P&< &G ç- u/atœu awglo p. qG -
                                                        j-
                                                        J
       I
       œL<euY
           e fuemY
                 Rere.
                    -
                     e   e - s,Knone.wKteenonen
                     ---.n                    : (In+*tz- .lepmpo le- dvle ue gl.** e-e >                                           .ë> .K

       ll.eoMMoN ARfM . tandl
                            - d- !so YeaaM r- onto- .Ae :lete- Term.*- we e ers.**c- - N*a of
       *ehe gm d*edeëdo entd e *epr- W œeap<
       IV. VNTPAYMEND lNp c% R@O.TenantAaîlpayçe- forthePrene inN- *                                      fW l%                    -
                                                   --
                                                        I         '                      *
                                                                                               s ab apmo'
                                                                                                        w.,<lv     v
       (a'ROe lne - tPe- .-ase IneA*Leasm 0 1b.ame ifelnlKpëdee l#.aldewaekg- &pa!
                                                                                 d- 0 .)T-
       *à1pe e p*e re- pr e e > es>                     œ oe - by -        -             .T% x mt- m o r> -on - >                       :
       * d**Le- h: .-               fœ ee i- - ,
                                               n e- -l                    '                  redo - tw ke- pl<                     .a ë-
       d
       ea
        t
        er*
        e  *ke-rmb+s
          d-       re .
                      i:$peXune -.
                      oe        mekt
                                   ma
                                    -hyeX
                                        ''n-T
                                           vedoep
                                                uo
                                                -ir
                                                  w
                                                  -e-e-ekwe*-d
                                                         œt  d--- T
                                                                  -m e- p
                                                                  '     oe---e
                                                                         e *ekexe    .
       Pe - t           pert- l' -''='   ' '
       % nd               1    1- T-                        --   I>   -       e a-       < thk -   .e e 1 -            ,œ :K

       8IA    .1x Ra /56 A;> e @n& *15,2@:0.:1-             Y GF- ,e œ te lfe 15.
                                                                                :1(a)t#eee          * >       a F> %
                                                        J                                                      ;




ID-M S-EP;M 000010                                                                                                       ID-MS-EV;M 000010
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 29 of 44
                                                                                                                                               l
  CD-M S-EW M 000011                                                                                                       ZD-MS-EW M 000011


       '

           v,,- - ..xu.-<.-....-.e- .l
                                     - .e-a--m - .,> 6> M-9- 1% .Qn@
                                                              l                                             (- j                  -
           l
           f* >       -         * ** * rG* O e * #*l-
                                                 :
                                                      p* < - ke -                         - - *.œ** - :*-                     -
                                  .-      mrque         l
                                                      . i                             iweamwate 4          ..            aod- wed;e
                      (
                      tr
                       z1@)                                           (4,.,.)
       *              . -                      .   41fIolpwiin%e l,mee * @3B.de = p*.)
       VDEP/G (.AW.,-
           .
                                                              j
                              : X G A* LAV CM RGG M a* - to*ek*- P- 1 e*                                    u-     .T-        -    pe -
       foqe F f         k- - xer  x - w y)
                                              1
                         am llke e of$        I
                                              l
                                                   tq.epaMu- e urwoel.e- .
                            ao--..e- rwpo
                            t            a- mtasX .X
                                      - o gmea we.
                                                                                 f--R- l- - p- e C X W. F
               (71          o- de- wle-            nld:
                            M te * g@ M ** 4-        ë:                           f@r@e te- Pay-         me -      -
               Il           e - wedateRwœe
                            a. :e A k fee l
                               ..
                                          a ** emmmt              .                 (.01to ex-       m .œ *r 5% d *. t-           Po -
                                   YO )#TY lg. @W (ée Pe go e *O W*       sy- jmo e to paym j
               UR           wl
                             * @bY O@CKt- e v- e ' Ten-llpeye m t*- pem- ine ork R eyœer,

               rl           œ .                           ,

       W.SEmjo ej.
                 *.sweuy
                       jcAO
                          NCE
                            or k1o .             .o       ,
                                                              Ten# %-. &
                                                              a
                                                                       .
                                                                         da -         d-
                                                                                      . a.
                                                                                             e *
                                                                                                 .   g .mdl
                                                                                                          .e''
                                                                                                             .'s;'jm.* xGx.
       e > n1e*:* @M Wlenœltl'œ - d4ep+ **m- yM Y inl-
       d tee 7% of* eo - e:e/eK- MteI- - jy- > ar5x permœ /1
                                                            *eg-     tee d- pe Tel- l- ?
                                                          .* Rderelt *'œ 1ea- A --- œ e 'd
       -   e e m- ye - e vre d œ
       e e duao t- œ4;-             :
            :.    lm - m- - a- e4 e din*@-                                 er-     4* 1- 11L- * >          **<         â '- '- :po
       Te- swlafsr- per-ar                                l                                                                   '
                            At**:a4***L*- .kœ1- #*-
                                                 ' T*n-tœ œe *-                            < *oi- *M*I*o1- tNlI* e<wl
                                                                                                                    4e
       dx. 'en- eTe- wrœ - ' ' 'o weteo .'- œewe- e - te- T-
                                           '

              c. lI> - renu5œ n- - 1pe .- - 3:Y d T- lM - # - ' ' Y e m y-
       *- 'a- d- o* T- *- d- -' - w- ,.- aKlum * - o .- -       > .'- ,- T-
       e rel- .- dw- -             p- ee e - me .
       MI.m cG                     C                l !                                    s- -ea- A4p- -d- -- e
                                                     (-
       te- Ppfpepw - b*= 'œ tm dloresA- at
                                         $                  (e                                    1
       œ -       d#- T- e m d a-           .l- - sl- - e em -                                    - œ e e e lœ            *-       *e e
       AN
       M yoo- w T- - 1bege e e- m#.r- e- # re-       .e 4* e * T- ë *e-                                                  -.;T- h
       e en,e *ePr*m* .em SoTea l- be'> a W l- sgae Wmen- ëmeM -                                                              .
       MIl.* :@FG œ l:> Tm enle e - *@er                           e yfarr-       '/- -      T- nte e e e .e œe e- lneœ
       e pl* ee aee
       g*eael- arelx - 1 a- omk- oroom- ee - < *.tea aule- s> w,* K -          o * *:
       l@me *1**.Geœbju * e f@> ë **> > H- *m-o > +*pre ie e .*' -A* ' ' > D- e* '**
       œ d- m e G p:- *ax.anuœw ee e nl.Kue 1e e de'- a- e* gœ h*r*W i- * R * :,pr
       re- ed                                             I
       te                   !     1e 1-                   l xkx-                - l- a- -ow-            - e w>       zg :w
       Rtm ,1f #:-:56 -             *+ 13D1Q.*R *                 e #F- .G- - - 1@:A4a)d- - >                   --     *
           -   - 1*     411- $:




ID-M S-EV;M 000011                                                                                                       ZD- MS-EVVM 000011
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 30 of 44



 z;0000 AAAR-SA -GI                                                                      ,                                    Z;0000 IAAR-SI -GI
                                                                                         l




                                                                                                                    :$- 11.1* .1- -
                       zpa- a- R'r-ratrâ- ae mtdïz.ote z- - a -04*1>* - * a *1'
                                                                              e11 tt* t
                                                                                      10*-.-*                           quz-     wt>

                       ''Ipem p- - m*pMoeml- e t- v                                      j           - lp- O                           pm
                        '                       :tet4Qz* + * #W 1* @* #@;J@z!e ëKt*aulI* œ@*#W Je œ * @M eltl#u1JIXW
                                                 '-     d- ee - qy- -ozWr- o a -uapz- zësw o hx4- - zpa- -
       < 1t
          - 1t-              z@l1*         **1ldoo *1* e gp lœ lœ e zzWeœ z@       u> 1* *1@l4> * z*q1- @z@lpt*3
                        Az- ..-         p w- -     zzo     zo- -          m      apr- w 11
                                                                                         e15 '/A- pgm- 'e a'&ql
                                                                                                              q-'.ne-zllu- l
 A                                                                                                   'e    A- A p- tm
                                                                                  szaw %'oqptm Ippt-eu-            Iu-         pxmtm
              X                                                   (luwlde apx ea ulu>'
                                                                                     I
                                                                                     '
                                                                                       '
                                                                                       waa suwrqx!)m a me x pz
                                                                                                w a xu w-
                                                                                                            pzom
                                                                                                              om
                                                                                                     -     #*      1*          pleptm
                                                                                                      a#qpma       1-     1    pzop
                                                                                                  squoq-    w      -           w op-
                                                                                                         *@H       *e* l pe
                                                                                                         e         *B* 1 pe e
                                                                                                      z>- led      leeu*l pze m

                                                                          =pzaap-     p uo uo *1* - - lQ           llz- i      Pe
                                                                                              1* m- <              Bmtla       :* :+3
                                  V>          p= *> !
                                                    *     *e       - .> '
                                                                        > - z*r- #
                                                                                 > Y>PKK
                                                                                    > œ> %<@œ: -1- 1l pe œ3
                                                                                                      pe u
                                                                                      ( nlu- optm eclpamx l- -           aza atpA-      -
       > 2* -          œ-             mgw* @z-     z@)œe >*p am a- * paze :e . pe tm '
                                                                                     -                     m 19 G A e: pe uœe M
       p *= - - + - m - lzopzeM                            * œ> %* * ** xuM N @W BH '
                                                                                    -                            @> 3           ':
                                                       'œ*.N* .> *-                 -    z@l- - - e p - md>''*œ
                                                                                                             . e *I
       e*    < - 9* 'm '* * et-                     l-      lq eo 'e @* *           pœ ' > * * 1* *   '* :Yt- -
       .- m > -      .-     '
                            >-                      '
                                                    > G           zp- -     u*. . a* w* *z= - px- '
                                                                                                  - * aq
       x '+       u'*>           >         oue *Ia* g -            @w m e- v e aqpe '+ q'+ q-     * w> *
       -           ** - *              - -         '
                                                   -             *e - * - p* *1* - œn* e* e * pe @#e **e:O
       e o- - e -                             - -- -M- - - e Y M - uaipp >e œnêœNeM- eWp- e - œd
       **M '*p* e-               gm *- zqee             e d*-pœ Ye pœ '%*'M - >                   '
                                                                                                  > % R-           '*=        'BIeM- @
       '-         <         >         -*       pœ - - - -             '
                                                                      -       * - z@'*       M'
                                                                                              '- M **            *u**= e&'- - **
       * 5- l- - pœ '     -                    M'>    - * * * m - p-        '
                                                                            - - nl- p@e *uAp-       '
                                                                                                    M
                                                                                                       :e @4
       :@1- p œse @* a p-                      *qwnulez
                                                      hor'.-M - p axe- - am -:61lua-t >te p>  ax vNalwlu 11
                                                                                                           'a e gg w tpe- vayqo =
       A = q* - A/-                   A- .-    ,-pu-      lem œ - ..em o m -             l* e e- M -       > œe zp- w Tx lœ o z
                                                                                                    'p> @#- = 4 :>               ze ulep
       >*          - Y A G M - * pœ 4* @Dm * 4 *                          !# *     @;1œ u l p* œd Y#= m *> p< 1n*                - @M
       - q-
          r
          '            M-              I> - **           % e 1œœ1 >*> tp *D m *B4- - .
                                                                                     l*M- H w@- z*al* *- *
       ** ë 1-          -            *.- < :-           - IM *    N    *zd 4* * qum- le lD e - mp &œ Y œ 1@u e                       Itcuâz

       e * ue          - *           m > -      *- *- -          *- @e-* - - -p '* l.
                                                                                    a- 'zt''
                                                                                           -                      '
                                                                                                                  zo- l*u- -             l
                                                                  >    @M e le       * U@Y R QM
                                                                                              ''. -N@œê
                                                                                                      IRH@'MKOe G @o 1@uN * 1œ 1@1
                                                                                                                        j,- - smzepx n
       > > *- - @* œ A *.> zo*14p zaeto ** - *m !1* mtgs- > tltlza: * lnlM l
                                                                           x pe d- Ieœ getl Iœ u@:
                                                                      r- - - vfpgu ' dm/uggœsou*- + % (U xaq- - ltln
                                                                      '
                                                                                             B*   @!I** R * Wd*** @*œ* @#z@M
       Ix* - - ** u@-                         * Y - z@t- l/ue Ieuu '
                                                                   pe e m l-                       le eDpm - f!D - ** G lW!
                             a    .  xo alyM o mao mme - w -     zp    u- xpzeptm '
                                                                                  (1Num > g)> œ >- l*
       xe u!e                        u- - e lou- p- ae p - n:lqo - puo. w 'p- d@Je- BKNU-AOpuo- o
                                                                                         i                 .po    jow o        zdag + j>
       WO         lN    G I*> > 1- ** W P* @l* W@J@M1* M R FO > ;
                                                                R 1U W 'O A G e @W 8*11* >                                      @J# @W tD
       >m- pœ>e*u-.-.m p- - zwsue le pœ xj
                                         nlpe za'
                                                +=                                            âuupzepueszp- . %IJ xoqmtg- jun


;r0000 WAAR-SA -UI                                                                                                          Zr0000 AAAB-SA -UI
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 31 of 44

 CD-M S-EW M 000013                                                                                           ED-MS-EVVM 000013



        T*e le beee- l e *p- - œ ?darlwl- e œ.K-            .- ' '-*--   1* - -                                              .
        e ene 'M d *e&e- k rem edfore/e' ean
                                          ' '- ea#l- nd - œ * lr- - u e e merent
        e *e l- re m- ke le re-           e - m ne p ''e-       k - a- ' e-e - e o- npf
        n nM .my-'= ''#Ten* > em# peo x - lNlpe e Teanesç-
              f.
                   T- ana R+ re Me len- ,I *1t- m - e k- 'erm.T4- te e:
                   1eeo lye X e igd- ' d- n-- W e e .pxe '- *IM % Kn'*e'Al e :eo e ;
                           Q kee *ePe- ' de= = d        -''*:
                                                        '
                                                                                                                                 #
                           3.fer- e e > AompaW in:ue * a- e r- . mm- .
                           *.keep*BG     GV **M     * e1l;:* * R .** .a dM e+ * .e
                           5,- are - fdeelar*-      @mm l- e ek- ,rhe% ' .- ' .* e p,#eeële' qe - e'vpMg.m d
                   e- *           ' - #- :- - .i ''-.:.el ' '.
        K R uNo .T-   -           pe e * > Kr: ' . - >         e d-           fe > ' e .e>' e * > '. * *
        Re* 4* *e œ- T= e- t
        e e l=* #@- *e u l- Tel . .(<                                - .* ' *e r*' Y - G W I * 'e o W > #
        - - .e#- .e> .œ + e e,e v veplgyal.e .
                                             ).

        5
        *7rl*
        O.
              .aQe,
                  es
                   l.
                    %'-
                      .vx
                        't.
                          *L*>
                             4%'.
                                1k-.,.-..4'
                                          r,.
                                            k-,J r.@
                                                   .
                                                   --
         œ .*= -- - * > ' *fwe G efo- l*ee u to- > .
                                                    ...-
                                                       u*-t..
                                                            = *= J.-'.-'
                                                                       .s
                                                                        ,
        D .tANDkQRDN ACCG T/ PREMISEE t- krdœ tm- A l:ept- enter*ePree - Kmpf
                                                                            .-* 'gd= -                                 '
                 A.m apye ee **Fole on> p-       o
                 @e M eree-- G n- loTe- lœ --x--m -fma fe * p- -                *leep'*iY ee Pze-'    .
                 c.
                                                                                .e rem d' ''t''' G l-
                                                    ,
                      Ta I> u *m Dee     ;-                 -             *                                       > - &
                 Y *ed e es;qre   me Pe*e *s p-                     < e / x re -    .me -           *nG   >       G   - '-
                 undef> ol*ef> ' e cu- -s'
                           1 e T- I--               '
                           z.ine elfe- lwy;
                           3,whenTenam unaa-   wy ' o> -             or
                           4.;T*n< K * lw# 'pm *: * f*r4pe #of*tI*e Oe*e @RœV M*      P*;*.(/14feë W
                           eu- - Tenc tne est- gdof* i nt- - S w'e.- tepdqf#- < ere e T- #pe ept<
                           flr*epr- r e pr-----> '* R e* )
        MIl.- > IM Am Bf te te .Le d K m- 4*- e n:**e* e *> * *                                      * .M %   :0 *:.F*
        Oe e-llaFee = ofe œ befme l - e e e- l - tee e
                                                                                                                                 @
        m .cAsm m PA*AK #** Pee - - '    e - w edo- r- e wTe                               e ne- a d T- œ -
                                                                                                .
        on*ep- ' G T- - S-    Y K* O  d - RM- K-        -                                  T- - - '* - > *
        3:e * mee v œ - - ae T> e ee         v- hep- ' eT- <    T- KO Y fœ
        - t- wwM l- a- œae *@* of> ' ' .n ne - v- *@N d - - * ee e '-= '* -
        d-       erAe - ' K -        -   T-    /:       - - -        - e- .- o *efe -         e *d - p< d - -         ' -
        W .DEFAMkN F- IG % M s>                 o *pt-           fe * m   *   Te > '
                                                                                   * '*su>#e *@ke- *#e            * *M-- '*
        e*- - 9- -e eee *fmete- .'4m*P< II.Ce lr83.ep/edR@* 9* ''le e G#T-Y /4W 'd'
        cop- ie rm- onoœ %=dee- aes Ava ofthe- enlve Yof- M is- e tl*eteare
        m A= - ENT Ae 4M@l0 *,0 .tc a
        - < e G*  -    - -       -    #è*                       -     - = n- Y +ee              œ ''= - .
        m .*:K @Ftœ .>   * mene/ v #- k- e r- ,M b@rm fe ey1- &yr- ë <a- .*< < - '
        * * *-> > ' .tmg- 2 ee * Te< < T- s< y.v m >
                      ..                                            > e v- 'œ
        Y aole Y .8* -     .ee œ e K-     e T< T@a- *< ,e < **       <    œe    e e
        e m e llh- œn#t/ edilvetedle e T- *omepe e e lm *ma>.eI+ @*     W %- * -
        = II.9UO R%         m N.R .kma isame '          e       e ml@la- I
                                                                         je ol> <    e *- -*         :*.1*> % - >

        m.uO$.T.@1- 4*1tmaordr**n@l4wbjut.- 4-.1r-0ve- @*:T- m> - k,e :13.1:.
        *-       *         e e-


        RG= 1. Ro 'aç >           * > !:a l> > w - e d-               u- *    œ 1*21ja)>* *    % > >-         >
        -    e fe      m x l'                       '



    .

CD-MS-Ew M 000013
                                                    :
                                                    '                                                         ED-MS-EW M 000013
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 32 of 44
(D-M S-EV;M 000014                                                                                                                               ID-MS-EW M 000014


                                                               1
       *KAepR0##tç@N>> >                    .   II-        e.-)a - * œ -. #xae              appmvx . p                     w > ... ... px >                   ..
       &@
        * .> > ' lf-* œ>T- ,:#
       > ypOme -
                              R Q ' ,e * pe :yQ L%#e - K* >     1e .-
                             e er - œ e **ke- &y> q- * > e e d - o piœ l
       >       @*               ''' .>4/*@k- hG j'e< T@. yee -                                  -   @$-                   o            *m        K Kme .#>
       t*- IsG % M re ** ee * % >
       O                          K- 4em * - * ,Y- >                                                                                    K o44+ 0 +
          INWr '' >    e *œ* e **a eme *r- ''
                                            -gav * D lœ                                                                                  T- 1#4@ *.
       G REd
       m   G-MP
              -G -dh*Kmw- ee-/mv e.
                           - - - . '' 'e e-    - e p am   v-    -                                                                       we         k-        d-
       T- < H Ma@- e - 1e*u > - T- O e * @y@e.A- 1- *ae 4> e > œ.
                                                          1
       & k* M *              PW .D e                  md- le '> >                  ro e œ a p-                            1.IWK Y >                   .--. ,
       fTep- #l**B> 4.*ptermke- rdo tp                                    #mg*etemke- j- oT-
       H ' e * 4œ 1W:- *                          l
                                                  @e œ.*!e                % e p*ë* MdI> ,e *> œ - *                                     ' w':* *
       prpp .kœ exp- e*- ' hG 1*y#mgd-                                        - m-      e me.e e* gp*$G $> 4ad-o me       -
                                                                                                                                                                  g
       f-              e pa- de le -                    gp-
       t- el               açIe M)                              l
                      #.
                   t@) %            4:I-          p* mrj.- I              pe lx.x. j. o j)orjjj. . );
                                                           t
                            Wx L.e l-ae*-upa'
                                            mœ* 1t>                                 >'- :e > p- W> > ' f* )
                                *
                                  ..                             I
                                       5

                           (#&         t- e na- @#* *I@-                      u -' - ee **e e thm ****:@e p.
                   *)R- <se deepe' >*le p* *ete- (-                             k)mr(ë)*1-):
                           (i)A        K- rG >               V-            e e= * .-                ><r- >                             *>             - -<
                           *>          4> hWe* M**h* g> - .- >e - )
                                                                 I
                                                                 I
                                                                 l
                           çI
                            4..L1
                               *- t- wu noe-                      e re-       -     wqto.--n rr''- - 1-enç*-u- u p- xawee'!akl
       *eh-     g.
       t*:- *%A-       - (> )
               (çlte- Mo re ed- s
                                o pfdl'     * d- @.
               lWte- e ev e pepa-      * w Y- * W *                                     k* * Y- * -
       A- l'- eg- ye l                                            1
                   fe3A- - ip- u*ek-                    e-                 e-       *   * Us.C.e de K-                                 eO        r-           >
                   1- *-                   *.
       .-           -1. -                                         I
       > M<          *       > @e** 4**<> '
                                          M > @- e                                .**#* W*e * * .M * >                                           . F@#M W
                                                                                                                                                                      @

                                                                                                        %

                                                       0M@            ,           I- eswgpe rm                '%a                           9*
                                                                      I
                                                                      1
       t- xkve s                                       DeG                        kl- *-            e                         '
                                                             .. ...
                                                                      j            ..   '''''       .       . ... . ...
                                                                                                                              '   ..              .     ..
      '
      AUgeno - a
               '                                       -                          l:ie w-           e                                       ow
                                                           j
              11 R@eM : &-             -Y   1â a 1@ W > *H .Y dfoe>-* e 'HAfalleR-> -Y >
      - -#
         > ****:
               P                                                      I                                                                      l,
                                                                      1
                                                                      l

ID-MS-EW M 000014                                                                                                                                ID-MS-EW M 000014
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 33 of 44
 iD-MS-EW M 000015                                                                                    ID -M S-EVVM 000015


       '

           0 .ln o-     s'eaa 1.wv -    ao>       t
           d-*ee:e e- - ere                       ,
                                                      .e
                                                       na
                                                        -uxee,
                                                            - ae.e
                                                                 ..-
                                                                   a-> sxI
                                                                         a xpp
                                                                             m o- x .
                                                                                    a-- .
                 A. Nmelof- '' ''dlepeeo
                 %                                    d- e       o         o       - a- .
                 - Rek*- M * Nnëngu- < fe * :- 1 d 1*h*%.e= <mp-                            ' .a-     e -* 4
                    > **œ - - T<       e          *- ee-         -         - -'
                                                                              N - ë*e>       -   -'
                                                                                                  < - ,- e eor
                 nu* * %*      * #e œe * +àe1e- ëe *                   % I:& * <I>           *
                 C.R*a- -      - e e l metevee fe lee                * :'='-'a* pW >@*       e - e -- e w
                 O e do '
                 D N@+ > 2* - >po * *r* % * e T- le * ve j* M> e e e k '-
                 E.Al>* % N '-g**meein: **M -'n.ç- -qp,e- ve .e -* > - *1*4t*- 4* :*
                 d- amdem le o - l- ofFlque
                 F.T:@po fe fe4arp ee - o*er#xeedme * e- 1o**K- - be*e= o ine a *eG- h
                 ,., te...edaR4T- e u- qe faojK ped- *e elre une r*ek-
                 G
                 H.M >        * e .œ - dm- *i< - e - - a:*M X NY .@R* 1 an- -   m- -''go
                 M *    #œ

           m  .O * Po O âtPR@Y .Te< r MU3TINlnc INTHISQOKU M RTNQFG O NG O RQNT@
           APPW . B# SIM NG m I: REG Aœ = Ml'  . THE <>    AGRV S Tm T * >     A> - > . œ                    ..

           RY
            MœWRMYX 8G3, FVR
                          toRlM @TAT:ITEs.TA O DtORD - O T BQ IIARIpOR RG O BW Fœ .
                               O  W RE-    IYjUG   M  T OM  A IHO  FTHEY M a
                                                                           - G-   MT-G R
                                                                                  S    X Rœ
           Dlsfr sm oN oFTHET- Nrs eEfo oNAteRopeaTv.
           Thete-hasenoe-eKy*epeoon-1* ** :**.
                                                                           ë/ 1         P
                                                                     DM*

           k       *
                                                  l
                                                  '
                                                  l                  bv J >
           T
                                                  l                         J           '                             #
           T     St N



           Tle *rm was+ e e * -'== -'**t
           Name@ff;e <:                                      .                              .-
           Na- lfee n- '                                                                                          .
           A*    .
                                                  l                                                      .

           Tdep- Nume ;                       .                                .    .




                                                  l
           G- @#W - tV@*     * > * - * l< % M *e - T-            :< M R QM p- ** M          *-   - * * @'' ' '
                                                  l

                                                  l
           RLA= I. R-M I 8Ne - + 4:.a1o.* > >         - #:o .o - e e 1G714A)/- * Rr M - I* >
           - e- *1
                 @>'
                   '                              (
ID-MS-EVVM 000015                                                                                   ID -M S-EV;M 000015
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 34 of 44
ID-MS-EW M 000016                                                                                                                   lD-Ms-EvvM 00001ù



                                              - yx-l- oqF- u- - - A- dum
       Nedme <- > < R ** - - **:I#e *- ' **- e m< e *@'*
                                                       . O - - G e *R@k
       ee ër-tle#- mmme h-                             me       >       -    <
       lZ 11donëa- *Y #deddarv qre * > '@pnfep.m#4>                                                     @*** ee - e e                       >
       p,- ,.y-                                             I

           L                                                I                 bk/
                                                                                         /z 4
                                                                                           (

                                                            l                        .   . ..''
                                                                                              .''' .-   ..   '.
                                                                                                                  . .....
                                                                              Dà%
       iH V#s
            w@@us                              -            j
                                                            .
                        '                                   '
                            .. .

                                                            I                    /< / Zr                    , --
                                                                                                                                                        #

                                                                              **
                   ..              . ..   .                 l
                                                                              / r                           L
                                                            !
   h&l suùç- o v o- 4I
                     v - oç > $
                              < = u / x waw cqw
   Q QF N               > R: >                              l                                                     l
  PW ot q0 4* *
                                                   wMs
                                                   *
                                                     mup *oT>:0
                                                     -
                                                               S> )> çowvemAa&G
                                                              M? > ze                                   t   cm %               (e       -       w
  * Q#                             1* PRO IZ oi qo > &t lm o F *+ G G.
 T8(= Q* To 9o So çhW                                               2Fs/&T 1& *0                                            M oitM >
  r a eN > > b* Q : pTo lvG > Im >                                                                      % q r A w 6# n                              .

                        )




                    '         l      -    1O :T*-                   *            *          * *- W *':- .* % *Pe*'* $@.
       œ -e   -
                  ,p eo'ne -                  -Y 1NDmw- % 1- tw ld-         *'- t- e I*714N#O R- -                           - A-   -
       -   G * * *M - A?                                        '

                                                                l
ID-MS-EW M 000016                                                                                                                   ID-MS-EW M 000016
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 35 of 44

    ID-MS-EW M 000182                                                                                                                                       ID-MS-EW M 000182
    InelisGarcia                                                             Exh 1bit B
From ;                                                 Marcelo Reinmander
Sent:                                                  Monday,September30,2019 3:15 PM
To:                                                    sdwardp
Sublert:                                               Notke1888BiscayneBlvd#2712
Altachm enfs;                                          NOTICE.pdf


Goodafternoon,

         A copyofthisnnticeasprepared incoordinatlonwith the Law QffkesofAlberto M .CardetP.A wlllbepresented to
,heTenant(s)of888BiscayneBlvd#2712today.
              BestRegards,

                                                          M A RCELO STEINMA N DER PA .
                                                          R EAI-TO R@
                                                          Chairm an's Club
     M A RCELQ                                            Berkshire Hathaway Hom eservices EW M Realty
     STEINM A NDER                                        M:305.305.3885 I0:305.674.4127
     if>l.
         llpl$:t4'
                 >(
                  ?lf
                    )ô Pl?('
                           >p(f?ïlf$
                                                          E:steinmander.m@ ewm.com lShemiamiobsqr-
                                                                                                 y-
                                                                                                  qr.com
                                                          419 ArthurG odfrey Rd,M iam iBeach FL 33140
                                                          @Marçplost4inmander @ f W in
         + % * * * qeqçir<>t.
                            1;Mv qqvlqw:ofjgltkpwl
d
'

                               %*
                                 '
                                 J.'
                                   277,
                                      ,k
                              t lj
                              . 1
                                   1
                                   -
                                 .1f'
                                     1';
                                    :7 .
                                    ,
                               .$ I I%J *
                                *$<#I::.P
     -
         1n
         =.l1
            -1fS
               ''
                J.
                 '
                 k1-IJ k'11 .'13l-1l,
                                    i1 1%.'
                                          f
                         l'
                          ft.
                            llr
                              llf-tl,
                                    lllrVitq.
                                            2l
                                             .
                       y.
                        ?
                        .
                        1
                        ,. Isj,j-
                                t
                                ,(,
                                  ;alty
    Ikmlnder:Efnuillsfl9!@qçvrgofconfidenliil.Elcçlroniççommtlrllcal/eqffçlnemllshlroHathawayHœrfleservlçerpEWM ReallgI-EWl/1Realtf)*11ôRealEMeteAgsllclale:rtrgptdlng11,:tf/rpqfg;of
    fvndsqvillbeInascctrrgdfclmaîarlömustbgvcrinvövorbakyprioflojnl    liarjngenyllansfer.11ycufecel3e angmpllX rlclfnlrlelm:lransarell
                                                                                                                                      o iwolvll)gEWM,faquestingtllalpuKr'KSfunllsqzprthzd:
    nsn.publicpgrrprlplinfofmaticn.do11p1fospmd* (heefnallprl;immeçllatelyc@1IyotlrRealBglpleAsiclciillecrEWM Rcpltyal305,9150,25Q0.




ID-MS-EVVM 000182                                                                                                                                         ID-M S-EV;M 000182
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 36 of 44

 ID-MS-EV?M 000183                                                                            ED-MS-EW M 000143



                              SEVBN (7)DAY NOTICE T0 VACATE APARTMENT
                                   NOTTCEOFTBRMINATION OFFBASE
                                   (WITl1NO OPPORTUNITY TO CbRE)
                                                               .I.I

        To Steven F.Hvlfand,W alterP,Ellinwood
        288 Bjscayno Blvd #2712 M iam i,FL 33132

         YouareherebynotifiedthatyourLeaj!Agreementfor28sBiscayneBlvd//2712Miami,FL
        33132 isTERM INATBD EFFECTIVE IM M EDIATELY.
        Thisaction istaken because:
        Youhavecominuedtoviolateyourleaseagreement,Page3paragraphVII1,(seeathchedqopy
        ofleaseagreement)andFloridaStatute83.52Specificallymisnseofthelandlord'sandproperty
        by intentionalactora unreasonabledisturbance asto the enclosq repol'tdated September24,
        2019regm'  ding thecomputertlleft,inaddition onJuly 13,20l9hotwiremotomycleenclose
        violation noticeon Septem ber23,2019police wasalso dispatch to yourunit additionajinoidenf
        reportand unauthorize electricalrepaifsto ejvctricalpaneland plugsenclose m'
                                                                                   e picturesof
        Septem ber 16)2019
        DBM AND IS HBREBY M ADE THAT YOU VACATE APARTX NT ON OCTOBER 9,2019
        OR BEFORE SEVEN (7)DAYSFROM THE DELIVERY OFTHISNOTICE.
        Ihavq been instructed to tilesuîtim mediately afttrthisseven-day period ifyou do not
        vacateasdem anded.
        Thisnoticedoesnotwaive any otherclaimsyourlandlord m ay have againstyou.
        GOV ERN YOURSELF ACCORDW OLY.
        Thisinstrumentprepared by:Law OffcesofAlberto M .CardetP.A
        Property M anager: M arcelo Steinmander,
        B7P 828BISCA YNE BLVD 2712 LLC
        1330 CoralW ay Suife301M iamiFj33145

        Iherebycm-tifythat:copyoftheuoticehasbeenfurnishedbythcabove-namedtem nfts)on
                                             September30,2019
                              (DatethisTennination7-daynoticeservedupon tenant)
              Personaldelivery
                          '

              Postinginaconspicuousplaceonthepremisesastenantwas 6 fftfrom theabove                          '
              namedresidence.                                       '          f-. q. . -z        j
                                                                                                '''...w -. .- w
                                                                         .,l                                      ,< .-- a
                                                                  Sig edbypmw nddtverinFposting



ID-MS-EVVM 000183                                                                            ID-M S-EVVM 000183
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 37 of 44
     jD-M S-EW M 000136
                                                                                                                 Exhlblt C
                                                                                                                      .   s
                                                                                                                                         ID-MS-EV?M000136
     lnelisGarçia
 From :                                                                                 AlejandroHernandezqahernandez@castlegroup.coml
 sent:                                                                                 Thursday,October31,2019 12:
                                                                                                                 29 PM
 To;                                                                                   Marcelo Steinmander
 Cc:                                                                                   Donald Campbell
 Subject:                                                                              RE:Unit2712



 HiM arcelo,Thankyouforieepingusinformed.However,we are notableto assistwith the removalofanypersonal
 belonglngsinsidetheunitasthisisaliabilityto theAssociation duringaneviction.1am sureyou understand,W ecan
 reservetheelevatorforyouatatime whenyoucan haveyourteam thereto rem ovethetenant'sbelongingsand they
                                                                         l
 canhe Ieftforhlm inthe loadlng dockwhere he can pickthem upwlthlntbeïrli,
                                                                         kj
                                                                         , 4,!.
                                                                              q4
                                                                               ,,
                                                                                ;,
                                                                                 ##,
                                                                                   j
                                                                                   :
                                                                                   h
                                                                                   ,.
                                                                                    ngr
                                                                                      .,
                                                                                       y.
                                                                                        M:f!R#:5
                                                                                               prqvi,
                                                                                                    d.
                                                                                                     qd.
                                                                                                       I,
                                                                                                        j.
                                                                                                         I,
                                                                                                          m.'
                                                                                                            :
                                                                                                            p.
                                                                                                             qd.
                                                                                                               :.
                                                                                                                r.
î
''
()
,4
 :
 1  iâ
  :lh
    l(
     j'
      1
      S
      j.
      '
       jM''$
           9
           14
            :                                                                                                                 '
                                                                                                                              i
                                                                                                                              f
                                                                                                                              '
 Pegards



 Alejandro Hernandez
 Administrati
            veAssistant1CastleGroup
 Mafina Bltle ''
               Prtmdl
                    y Managed bythe Castle Group''888 Blscayne Blvd,SqRe 2Q0,Miam i,FL 33132
 ahernandez@ casllegroup.com lwww.castleqrotln.com
 P:305-898-7361IG:lF:305-808-7363
                                                           '
                Jw
                 +wy  z?%'i'
                            1,
                             %
                             .'
                              Q
                              ,%!j!j;xets4q
                                          .                    M%
                                                               #
                                                               ..çtb%.
                                                                   wç
                                                                    'r.
                                                                    uv
                                                                    &
                                                                    î!
                                                                      .1
                                                                       4-
                                                                        &
                                                                        ' JJ
                                                                        .'.  '
                                                                             @t
                                                                           M.o4.r.
                                                                               4j-!s'' '''' '
                                                                                    '' % ..'
                                                                                3z;lI
                                                                                            w''''''-
               w.n    t                   ss!                  br?s
                                                                .&
                                                                 .  ;
                                                                   rj,.>.
                                                                        .'!:'
                                                                        e
             .,
              .z   .f                                          '
            ?i
            z I@
               Ar
               '  jy.'
                     w',.
                     i
                     -   zka: ''.
                        .-         u.j *tku'
                                      .k   ?ej.
                                              .:               j
                                                               S
                                                               .
                                                               J
                                                               r
                                                               ,E
                                                                ..%p
                                                                 ,
                                                                  .
                                                                        ' h<
                                                                          A    .                ...
           $f:
             qw  .zy az  xv e   e*
                                 '
                                 -*%*  ,'
                                        .'
                                         '
                                         Gk'
                                           :;
                                            h.PL
                                             1'                gbhfy..  2..
            .'sp%;-...e'    .. #..z.ï '                        g O
                                                                 ;V
                                                                  L
           .:
            jy
            ..=. .              .sacy
                               ox,  :.,
                                      os                       jrCxZ
                                                                  x
                                                                   l
                                                                   s'J4
                                                                      (I
                                                                       .
                                                                     map
                                                                     r
                                                                        $
                                                                        yE
                                                                       r-':p44
                                                                         io--
                                                                              Qtg '%
                                                                                  ïg1.$
                                                                                      v
                                                                                      1j
                                                                                       +/I
                                                                                         )f
                                                                                          A
                                                                               :.ll.- .1 '..JL. ..
                                                                             elc
                                                                                                     '
            z.rm-I%'-T
            .,
             qjr
               .
               ,
              l;
               a
               g
               ''k
                 ,
                 .f
                  -;re:0l
                        j
                        -
                        y
                        z
                         ,, . '''*
                         -,.
                           ;
                           h
                           -
                           ;$/f
                          ,.
                           ,  >)
                               .:
                                ,
                                :
                                -
                                b jLj
                                 %ö
                                 '  r
                                    I
                                    .,
                                     -
                                     t
                                     i
                                     .
                                     f
                                     .'                          (
                                                                 .
                                                                 r4      ..v+4  .   .y   ;  j
                                                                                            !
                                                                                            ,.
                                                                                             ;
                                                                                             '!
                                                                                              p
                                                                                              ,.
                                                                                               ,1
                                                                                                '
                                                                                                !
                                                                                                .K
                                                                                                 -
                                                                                                 p Q
                                                                                                   '
                                                                                                   %,
                                                                                                   k
                                                                                                   t
                                                                                                   y.
                                                                                                   , /,Lài'
                                                                                                      .   Yrxl
                                                                                                             ,
               W
               o
               :
               '
               .e(
               w.J;
                  '
                  .-1
                    k
                    > :f
                  .,%     yzj
                     .. . .
                    ,t-
                      A.*
                      . 2.- v
                            q..h
                            ., pI
                                a;
                                 Cz!
                                 I,
                                  ';a'
                                     LC,
                                     r v'
                                       -                         w'
                                                                 A:
                                                                  ...   n
                                                                            .
                                                                  .,.u .. . . j;
                                                                   ..                .

                                                                                          f  5
                                                                                             3.     '
                                                                                                     .
                                                                                            >J f''G4'.
                                                                                                     .+
                                                                                            ... 4.f.. g.
                                                                                                     Y    .'
                                                                                                            F
                                                                                                            '.
                                                                                                            ;
                                                                                                             r
                                                                                                             1
                         - '                                      ..   z
                                                                       .e . .  <#      ...
                                                                                         .
                                                                                         . .jy
                                                                                             N
                                                                                             ..     (    ;sg
                                                                                                          .  :
                                                                 a
                                                                 ?e*.
                                                                        r
                                                                     .Q Z'
                                                                     '           .y
                                                                                 P.   .
                                                                                      .     u.
                                                                                             m  u
                                                                                    X .L...A . .y   )    z.;sr
                                                                >a .awVJ
                                                                       d# Jç-w.
                                                                              az
                                                                               x.
                                                                                wr,.Jo..
                                                                                j      sg.
                                                                                         e
     lz/J'ql.flfd.
                 I,4l1.,..l.'z/I..',r4I'II
 From:Marcelo Reinmanderqsteinm ander,m@ ewm.com>
 Sent:Thursday,October31,2019 11:09 AM
 To:Alejandro Hernandezqahernandez@castlegroup.comy
 Cc:Donal
        d Campbell<dcampbell@ castlegroup.com>
 Subjecl:Re:Unlt2712
 HiAlejandro?
 Asperthephonecallearlier:

 Thetenant/occupantsof#2711reachedouttotheattorneyhandlingtheevictEoncaseandexpressed herconcernthat
 thetenantjnquestion mayattemplto breaqhthe btlildjngsecurity andgetbackto the27thfloorusingtheemergency
 stajrs.Ftlrthermore,Healso trled to comm unicate withotlrattorney in referenceto theftlrnitnre insidethe unit.

 Lastly,please adviseifaid canbeprovided Incomplyingwiththe Iegalitiesoftheeviction including removing theinterlor
 conlentsonceunitissectlredandplacincthem ontheI
                                               oadingdocksoajvnkremovajcompanyhiredbytheownermay
 picithem upafterthjjj
                     .
                     )f
                      .
                      :;?
                        L
                        #.'j
                           )
                           j;
                     ;.,, ..
                            j'
                             j
                             ,j
                              .
                              j
                              !
                              ;
                              ?
                              j.
                               -j
                                '
                                ;
                                ',
                                 $
                                 :
                                 T
                                 j
                                 5:
                                  1
                                  J
                                  j,b
                                    j
                                    '
                                    /
                                    h
                                    t
                                    '
                                    jg,
                                     1-
                                      T
                                      jk ''
                                          t
                                          -
                                          ,
                                          '.
                                           '       .
                                                   ..,,,



 Thankyou asalways.Iwillbe there tomorrow. .

                                                                                                                  1
     ID-M S-EVVM 000136                                                                                                                  ID-MS-EW M 000136
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 38 of 44

    ID-MS-EVVM000232                                                                        E xhl
                                                                                                .bl
                                                                                                  .t D                                                                                      ID-MS-EVVM000232
 lnelis Garcia
 From ;                                                         Marcelo Steinmander
 sens:                                                          Thursday,November21,2019 3:07 PM
 To:                                                            sdwardp ,
 subject:                                                       FW :Claim -888 BiscayneBlvd #2712
 Altachments:                                                   Claim.pdf




                                                                   MA RCELO STEINM ANDER PA.
                                                                   REALTOR@
                                                                   Chairm an's Club
     M A RC ELO                                                    Berkshire Hathaway Homeservices EW M Realty
     STEINM A NDER                                                 M:305.305.3885I0:305.674,4127
     t;()1)11If't4)flf()1% Vflf'
                               J0(.f?1I9J$
                                                                   E:marcqlp@
                                                                            . rriqrpelostejnmqnderrppm I11
                                                                                                         .
                                                                                                         1q(n.
                                                                                                             1a1.
                                                                                                                1)
                                                                                                                 4.
                                                                                                                  1q).
                                                                                                                     z%q4y-
                                                                   419 AflhtlrGodfrey Rd,MiamiBeach FL 33140
                                                                   eMarqplostejnmandor @ f * *
                                                                                             kn
          â @ 6-W '
          '
                  k cllgçKotl'
                             rMvqqvllswçoI9zltqowl
'

                                   %*.%.
                                       :
                                        $,
                                         )z;
                                           ,'
                                            e
                                  )
                                  ,  tjj.j$  .
                                  .
                                  .
                                   6
                                   :sF jc
                                        w. .
                                     f4l.!j1
                                     .
                                             .
    15 -
       ?11I(.,
             %'
              tl-lIlk1'
                      ?11 .'1'I-IA
                      v                                                '
                                                                       --
                                                                        V'
                            l'
                             14),:
                                 nfJS'el
                                       -vivet
                                            ;
                          1' 1.1. l
                           ) :
                           1      1(.
                                    !1àlt-
                                         y
    Rue
    f  mh$
      r?:l
         d esc
          Wl  El
             bei1
                l
                laa
                  ils
                    ;:qu
                     gcor
                        t@Götk
                             courf
                             f   ectrar
                                 ma   m
                                      ndnf
                                         i
                                         dcnlll
                                         mug  pl
                                               .E
                                              bavel
                                                  a
                                                  fc
                                                   ill
                                                     iafo
                                                        dnVl
                                                           c
                                                           et
                                                            lf
                                                             bpnll
                                                                 lyfnptl
                                                                       rn
                                                                        ill
                                                                          c
                                                                          hra
                                                                            Iot
                                                                              l
                                                                              c
                                                                              In
                                                                               nill
                                                                                  iaoht
                                                                                      p
                                                                                      rlgoig
                                                                                           lnr
                                                                                             k
                                                                                             ysth
                                                                                                rl
                                                                                                 are Hqarl
                                                                                                   fwf   .h1m
                                                                                                            1yv/fu
                                                                                                                 l
                                                                                                                 yrH
                                                                                                                   comv
                                                                                                                      il
                                                                                                                    çfispf
                                                                                                                       gcrvl
                                                                                                                           te:i
                                                                                                                          lemaElc
                                                                                                                                Vo
                                                                                                                                 VM   Rle
                                                                                                                                  rlcee  @
                                                                                                                                        fl1
                                                                                                                                          #:g
                                                                                                                                         fn (-
                                                                                                                                             rENW
                                                                                                                                              ly  JlnRxc
                                                                                                                                                Irf     al
                                                                                                                                                       @çli
                                                                                                                                                          l
                                                                                                                                                          fn)I
                                                                                                                                                          ç  W i
                                                                                                                                                               tsRrie
                                                                                                                                                             nvàvi  gpEV
                                                                                                                                                                      lEk,M,
                                                                                                                                                                          I
                                                                                                                                                                          4IqflA:
                                                                                                                                                                            f  qtls
                                                                                                                                                                                  lt
                                                                                                                                                                                   hcr
                                                                                                                                                                                   MikNleisfe
                                                                                                                                                                                          bëlg
                                                                                                                                                                                             Fg
                                                                                                                                                                                              @f
                                                                                                                                                                                               uds
                                                                                                                                                                                                 ll
                                                                                                                                                                                                  gg
                                                                                                                                                                                                   rl0l1f
                                                                                                                                                                                                    'l  :llr
                                                                                                                                                                                                           eld
                                                                                                                                                                                                             es
                                                                                                                                                                                                              n(
                                                                                                                                                                                                               s)
                                                                                                                                                                                                                f/
                                                                                                                                                                                                                 ûP
                                                                                                                                                                                                                  f/
                                                                                                                                                                                                                   (O
                                                                                                                                                                                                                    )f
                                                                                                                                                                                                                     VPJ:
    nnnegklblYpefsonallnformaliûa,donoffeepofldfothaemallandimmedlatclyOllyoklrReelPglaloAssoclal/ofEVW'IRepltyal305.9G0.250.



From ;MarcejoSteinm ander
Sent;Thursdaw November14:20195:57 PM
To:Edwardpqedpeloso@gm all.com/;Alcafdet@ gmall.com
Cc:evictions@ gmail.com;evictlons@ evictus.com
Subject:Claim -888BiscayneBlvd#2712
Goodevening Ed,
      '
      '
      /
      'St
        XY'
          .
          'Zt
            ''
             h'
              ê'
               dl
                1
                '
                9'bùJ
                    ,*il1éfj.
                            p,
                             d?
                              '
                              E
                              p.
                               4?
                                çppv.
                                    !
                                    :fJ
                                      1h:Lt:
                                           )aIm againstzhej
                                                          settèitk'F
                                                                   dehbàitt
                                                                        - bfl
                                                                            s
                                                                            .teven.
                                                                                  l
                                                                                  Helfandmn4,
                                                                                            '
                                                                                            WalterlEl
                                                                                                    ly.qgvp.q/
                                                                                                             ,.,,:,                                                       .                   .

nprep
    'é'
      tè-d.asi  fqqsqlt.
                ,        '
                         4)fl
                            '
                            lhe.
                               i
                               conditions.askfoupdmndi preserltlyp
                                                                 atzf
                                                                    8,
                                                                     8@r
                                                                       :
                                                                       l),
                                                                         .
                                                                         i
                                                                         ,s,ç,:y,
                                                                          ,     n:,    v,,,#
                                                                                   ,,..I
                                                                                  (.
                                                                                   B       ,,#,
                                                                                              2
                                                                                              .
                                                                                              ,-7.
                                                                                                 1z
                                                                                                  .
                                                                                                  y
                                                                                                  'y)
                                                                                                    lf.
                                                                                                      t
                                                                                                      ,r.
                                                                                                        iq4
                                                                                                          ,
                                                                                                          ..
                                                                                                           ;
                                                                                                           ,,
                                                                                                           t.
                                                                                                            o,
                                                                                                             ..
                                                                                                              ,
                                                                                                              .
                                                                                                              i9cIp..d,.q#j,4m
                                                                                                                             .,,,
                                                                                                                                y,
                                                                                                                                 f
                                                                                                                                 J,
                                                                                                                                  h
                                                                                                                                  j
                                                                                                                                  rrr.as    ,                                   ,....,...     . .,.

 pp,
   #1i
     ,
     bIe
       ,.,
         ë.
          b..p,
              t,.
                ,
              .,,1'g,
                    $!.
                      :inf,
                          casek'
                               ,
                               .Iberto.lseopied.
                               A                so,    ,.gemavreview beforesendingy1, Itoverr.
                                                  Itpt,H                                   ,..                                                  ,



          BestRegards,



                                                                                                            1
 ID-MS-EW M 000232                                                                                                                                                                     ID-M S-EW M 000232
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 39 of 44

 ID-M S-EVVM 000233                                                                                                                           ID-M S-EW M 000233
                                                   MARCELO STEINMANDER PA.
                                                   REALTO IR@
                                                   Chaifm an's Cltlb
  M A RC ELO                                       Berkshire l-lathaway Homeservices EW M Realty
  STEINM A NDER                                    M:305.305.3885I0:305,674,4127
  $f3$,
      l111$*tfyljI4)1.hftflç'cflïlt$
                                                   E:marcelp@ mMlcelosteipmande.r.com
                                                                                    --Ithemiarpiqbserverrcpm
                                                   419 ArthurGodfrey Rd,M iam iBeach FL 33140
                                                   @Marcolostoinmander @ f * in
   k +'k * * cpqçlso$ITMY slvvlgw:oljzlkqow j
                         .,717)42
                         r%*b .$1-$:$v
                          e.W
                            !l
                             /-l t
                                 .
                                 ,;
                                  .
                                  .
                               .;pçt:
                                    %


 131
   =71111u'I-11 17
                 a l-J 71L1.
                           /t
                            .
                    l'
                     ftplllttf-
                              tlttrvit:t's
                   j'
                    s
                    . ? fte!.
                            yljy                                                               #
 R emlndjcEmar
             lisn:tscçpregrçonldgnl igl
                                      .Elcjlroni
                                               çXmmtmkpll  pnlromIlll  tlihi
                                                                           reFlplllv/oyHpmV
                                                                                          ei
 furldswëb:inascçumdfpfmal5* frlklssbevprpfic;vefbaïl/gfkr* Inislllrmganyyrpn:fef,11wllr@Kl
                                                                                           spr#icesEWMileall  y(-
                                                                                                                EWM Raaly'
                                                                                           )im çmpjlOfmolnrl'lgarly
                                                                                                                         )ofIt
                                                                                                                             sIkalE5*l
                                                                                                                                     5A5.
                                                                                                                                        50clg*:fenprdi
                                                                                                                                                     r/115lfansferof
                                                                                                                   -j
                                                                                                                    f
 nna'ptlblîcIwf:ongffnformalioa,dofotfespondlQIhoarnallafo ImflmlllnlglycallytmrRealEgluleAssoclelt
                                                                                                  zofEWM RealtgBt30:,9g
                                                                                                                      5r
                                                                                                                       l
                                                                                                                       :g
                                                                                                                       0,2di
                                                                                                                           ofl
                                                                                                                          500.I
                                                                                                                              rl
                                                                                                                               vt
                                                                                                                                ll
                                                                                                                                 vl
                                                                                                                                  npE%WJ,fequaôli
                                                                                                                                                ngl
                                                                                                                                                  hit#5t1gefl
                                                                                                                                                            dltlf
                                                                                                                                                                ld:01Pf/@l
                                                                                                                                                                         de




ID-M S-EW M 000233                                                                                                                           ID-MS-EW M 000233
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 40 of 44

 ID-M S-EW M 000234                                                                        ID-M S-EW M 000234




         November14t$2019
         Tenant:stevenF-Hel
                          fand,W alterF,Cllingwood llI
         CtlrrentAddrcs:1400SW 137*Ave#F112,Pembroie PinesFL33027
         888 BlscayneBlvd#2712,M iamlFL33132


                                    NOTICEOFCLAIM AGAfNSTSECURITY 9EPOSIT


         RentalPropertyAddress:888 BiscayneBlvd#2712,MiamiFL33132
        Acceptthlsasnoticeofmyintentlontolmposeaclaim fordamagesintheamountofminimtlm costsof
         $10,000nponyoursecuritydeposîtbecaqseof:
         Damagestocommonafeasandelevatorsofthebuilding,inclndIngdamagestothemain hallwayofthe
         27*fl
             oor.
         Drywallrepalrstobedroom walls,bedroom closetsandkitchen,
         Electricalrepairsneeded inoutletsand electricalpanel.
         Damagesto theappllances,indudingtherefrigerator,cooktop,and mlcrowave,
         Damagesfound insidetheunitandoutside inthebalconiescaused by paintqsed bytheTenant, '
        Repaintingoftheentireinteriorof,he unlt.
        A/CmaintenancecausedbynotreplaclngtheA/Cfllter.
        Professionalcleaningofunltandsafedisposalofneedlesand otherdrugparaphernalia.
         Replacementofligbtfixtures,ceiling lampsandfnrnitnreIncltlded aspartofthetease,
        AdditionalexpensesInctlrred asaresultoftheTenants'adionsthatwerecbarged totheLendlord


         I
         tissenttoyouasrequiredby583.49(3),FlorldaStatqtes.Youareherebynotifiedthatyoumqstobject
        Inwritingto thi
                      sdeductionfrom yoorsecurltydepositwithin 15 daysfrom thetimeyou recelvethls
        noticeorlwlllbeaotborizedtodedqctmyclaim from yoursecuritydeposlt.Yourobjedionmustbesent
        to myaddressat1925BrickellAve#211,MiamiFL33129.




        6JP888 8iscaypeBlvd2712ttC




iD-MS-EW M 000234                                                                          ID-M S-EW M 000234
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 41 of 44
'
    ID-M S-EVVM 000249                                                                                                                ID-MS-EVVM 000249
                     ..',.
                         1
                         r.
                          :.
                             1
                             v
                             '
                             %li
                             . I
                                !
                                .rl
                                  --
                                   !' l,
                              *
                                --
                                 1'
                                  vï
                                   -
                                   '
                                   .
                                   p...
                                   ,.  -
                                       '
                               $
                               c t.1.
                                    %
    13 ?11'I$
            %
            -'I-l1lkLk'-
                       1-) '1-'121A '.%/
                        I14)y)1f.
                                rS'tl-
                                     vitqls
                       IR.
                         , 1
                           :l.ltfg
                                 .a1ty
                                     '
    RemfndqcE'
             maj
               lj
                an:tsactlf
                         eolconf
                               i
                               dgnl
                                  ial
                                    .El
                                      edfçnl
                                           cceml
                                               ngqkab
                                                    lolIrçf
                                                          nBfgksll
                                                                 reHal
                                                                     hr/ayllsfqescalçesz%%âRear
                                                                                              l
                                                                                              y('
                                                                                                EWMf
                                                                                                   leaf
                                                                                                      t
                                                                                                      f)Qri1
                                                                                                           5ReplC:lpleAt
                                                                                                                       aocli
                                                                                                                           sl
                                                                                                                            e:mgi
                                                                                                                                pfdl
                                                                                                                                   fzl
                                                                                                                                     bœlrï
                                                                                                                                         lrh
                                                                                                                                           sf
                                                                                                                                            efol
    ftl
      rl
       ös$
         *
         /1!beI
              naatcuf
                    ellfçymalerl
                               :mu:tbqYeli
                                         fi
                                          edvel
                                              balypfmftoini
                                                          îi
                                                           all
                                                             f
                                                             zanyffarl
    nn/l.publltpersprlalInfcfmilllpnltlthnptrgsppndtefheemalfar'
                                                                     zf
                                                                      vr,Ifyour
                                                                              ecl
                                                                                vpimkmai
                                                               d ImmcdfglqlycallypufRl
                                                                                       l(
                                                                                        mnttgfl
                                                                                              f
                                                                                              naany(
                                                                                                   frl
                                                                                                     uzçll
                                                                                                         onklvpl
                                                                                                               Wl()EWM,rcgugzlé
                                                                                                                              f
                                                                                                                              lgSll
                                                                                                                                  alwuKl
                                                                                     m lE:lI1* Ass/cfalflofEWM lleplly:1305.9302K0.
                                                                                                                                       #fllnilorplpvile'




    ID-M S-EV;M 000249                                                                                                                ID-MS-EVVM 000249
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 42 of 44

    ID-M S-EV?M 000274                                                                                                                              ID-M S-EVVM 000274
InelisGarcia                                                                        Exhibit E
From :                                               Mercelo Steinmander
senf;                                                Tuesday,November5,20192:59 PM
To:                                                  AjelandroHernandez
Subject
      .:                                             2712


Alejandro,
      Justa qtlickupdate regardingtheplck upoftbetenant'sItemsatthe loadingdoci,Itried to getthem retrievedtoday
btltthejtlnkremovalcnmpanyonceagalnproved notreliable.Theyhaveassuredthattheywotlldbetheretomorrow
between ll-lpm ,Please Ietthejoadingdockknow .

        Pleasecallme ifanything

                                                       M A RC ELO STEINM A N D ER PA .
                                                       REALTOR@
                                                       Chairman's Cftlb
     M A RC ELQ                                        Berishire I-lathaway I-lomeservices EW M Realty
     STEINM A NDER                                     M:305.305.3885 l0:305,674,4127
     if)'IJ1H r.$.f)ft1b;,pf?()1,ffl1t$!$
                                                       E:marceloa marcelosteinmandervcom Ithemiamipkserver.
                                                                                                          -
                                                                                                          com
                                                       419ArthurGodfrey Rd,M iam iBeach FL 33140
                                                       (#liatrielpstpinmander @,f W in
      @ k.W % * clfqçl
                     q*u1,MY fplsllllswsp,4zlçt.pwl
'
                              .*..-
                                  ;--
                                    ;
                                    1'
                                     :
                                     7)
                                      -
                                      K
                            $*B 1-1'!
                            &'''1
                              '
                                 -1S0..
                                f#.':9'


    B E 11IfS'I-IIlItl,RL  ? 11;t,
                       lltrstt,vl
                                  .2IqLI.
                                 cs
                                  .
                                      .
                                        A-l .-f
                      1-
                       s
                       - t
                         -
                         klIt'
                             ealty
    Reml nder:Emi gllsnnlxclxcprcgnfidcnllal,Elggl
                                                 rerll
                                                     cXmrïl ptll
                                                               calicnlrol
                                                                        pBefkshlfelbllmwagilcqeselvlcesEWMReally(*  EWM Real lf)orIlsRealE$*t @Assprlalc;feggrdl
                                                                                                                                                               rl
                                                                                                                                                                glh@lfef
                                                                                                                                                                       lsf
                                                                                                                                                                         er*1
    rt
     md,V/ilQeInflztçvfç;lçTql  pspndI'
                                      lBlglQevçfl
                                                rl
                                                 gdV' er
                                                       bal
                                                         i/ImprIQIni lj
                                                                      glr
                                                                        nge
    ncn-publicpelsenalInfoffnahon,JofM)lfnspon;tD$1leemailaqdIfnmedlalelyr.
                                                                           cyIranifcr.Ify;ufeccl#@eflFmgi
                                                                                                        lcof
                                                                                                           lc*rnilg@rI
                                                                                                                     y'
                                                                                                                      Irefl
                                                                                                                          gp
                                                                                                                           ecll
                                                                          @11ymlrRealEsteleAssocleîeorEWM Rcaltxat395,%9.25* ,
                                                                                                                              œrllnvdFklaEWAJ,r
                                                                                                                                              equeztir
                                                                                                                                                     !gIhalyç11ienllr
                                                                                                                                                                    urd:Qfprœzkla




ID-M S-EVVM 000274                                                                                                                                 ID-M S-EW M 000274
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 43 of 44

 ID-M S-EVVM 000286                                                                           ID-M S-EV;M 800286
                                                  Exh 1bit F
Inelis Garcia
From :                          Marcelo Steinmander
Sent:                           Thursday,October3:,2019 11:
                                                          09AM
To:                             AlejandroHernandez
G:                              Donald Campbejl
subject;                        Re:Unit2712


HiAl
   ejandro?
Asperthephonecallearlier:

Thetenant/occupanlsof#2711reachedotlttotheattorneyhandlingtheevictioncaseandexpressedherconcernthat
thetenantinquestlon mayattempttobreachtbe bnildingsecurityand getbackto the 27thfloortlsing theem efgency
stairs.Fufthermore,He also tried to com municatewithourattom eyin referenceto thefufniture insidethe unit,

Lastly,please advlse ifaidcanbe provided incom plyingwiththe Iegalitiesoftheevictionincludlng removingthe lnterior
contentsonceunitissecqredand placing them ontheIoading dockso a..jupk,   :
                                                                         tqmoval,
                                                                         .        compqpy.hired,b,
                                                                                                 y,
                                                                                                  tbeipwnqrdmay
pickthem upafterthe24 hourperiod,

Thankyouasal
           w ays.lwillbe theretomorrow,
M arceloSteinmander

M arceloR einmander,PA
Berkshire Hathaway Hom c ervices
EW M Real ty
Office:305.674.4127
CelI:305.305.3885
419ArthtlrGodfreyRd,
M lamiBeach,Fl33140
Steinm ander-m@ ewm ,com
www.  themiam iobserver.com


From :Alejandro Hernandezqahernandez@ castlegroup.coml
SenlcThursday,October31,2019 10:08:03 AM
To;M arcelgstelnmanderwoteinmander,m@ ewm.com>
Cc:Donald Cam pbellMdcampbell@castlegroup,com>
S
. ubject;Unit2712

Good Mornlng,

HiMarcelo,thecotlrtserved thepapersfortheevlctlon thismorning and are coming backtomofrow togeteverything
outoftheunit,we recomm end to have acompany to comeand remove theitemsoncethey givetheokto do so.

qegards



ID-M S-EV?M 000286                                                                           ID-M S-EVVM 000286
Case 1:20-cv-20113-KMW Document 85 Entered on FLSD Docket 09/16/2020 Page 44 of 44
 ID-M S-EVVM 000353                                                                                                                                                         ID-MS-EV;M 000353
                                                                                         Exhl
                                                                                            sbl
                                                                                              .tG
Inelis Gareia
  . l                     .                                                                                          '                  '                                                                 '' -
                                                                                                                                                                                                          L

From ;                                                    Anita Cachaldora
Sent                                                      W ednesday,November6,20198:34 AM
To;                                                       Marcelo Steinmander;Nayla Benitez;ChrisBasick;Denise Sicuso
sublett:                                                  Steven Helfand EJP


Good Morning,whylam copied onthisemail..andwho isR eve?

                         u..%+.ye
                                                                    A nitaD .Cachaldora
                        f,,BF
                           1- I
                              ;.l
                            115 '                                   Vice President
                          9.,14:2
                          .
                                                                    Berkshire l
                                                                              -lathaw ay I
                                                                                         -lom eservices EW M Real
                                                                                                                ty
 BZ,RKSH IRD'HATHAW AY
                    1Itlmtt8vnekvs                                  0:305,960,2400IE:cachaldora,a@ ewm.com lw- eqpmtçpm
                    BW M llqalty                                    550SouthDkieHighway,CofalGables,Plorida33134

  ll
  fke
    lre
      m
      lll,l
          rl
           Je
            llr
           wi ;
              bE
               ems
                fni
                  ôl;
                    gs
                     ingo
                        vt
                         fez
                           dtçtl
                               r
                               golrJf
                             fpr
                               mg  cp
                                    Tdnfi
                                        da
                                       ml nl
                                         xl ibs
                                              l
                                              p.E le
                                                V'c ç
                                                   fisaf/
                                                    fi  dpvî
                                                           lc
                                                           eron
                                                            ballympt
                                                                   llnel
                                                                   l   c
                                                                       fa
                                                                        *s
                                                                         kinnilf
                                                                               j
                                                                               ao
                                                                               lll
                                                                                 ln
                                                                                  ngog
                                                                                     ar
                                                                                      nl
                                                                                       s
                                                                                       ysl
                                                                                         trl
                                                                                           af
                                                                                            o
                                                                                            nil
                                                                                              '
                                                                                              fl
                                                                                               cg
                                                                                                fj
                                                                                                 .i
                                                                                                  las
                                                                                                  11yv
                                                                                                     oa
                                                                                                      uyfH
                                                                                                         eo
                                                                                                          cr
                                                                                                           eneelkf
                                                                                                            lv   v
                                                                                                                ali
                                                                                                                  cmf
                                                                                                                 le
                                                                                                                 ' esllj
                                                                                                                       ll
                                                                                                                        c&
                                                                                                                         ol
                                                                                                                          f'
                                                                                                                           lRonjfnT
                                                                                                                           mer    l:ylIf'
                                                                                                                                        B
                                                                                                                                        f/S
                                                                                                                                        1'tM
                                                                                                                                           rarRe atl
                                                                                                                                              ls7c  fn)iofwo
                                                                                                                                                   ip     fi
                                                                                                                                                           ts
                                                                                                                                                            lvR o7I
                                                                                                                                                              ing EE:ll
                                                                                                                                                                   WMIRle
                                                                                                                                                                        rep
                                                                                                                                                                          qh
                                                                                                                                                                           :
                                                                                                                                                                           us
                                                                                                                                                                            go
                                                                                                                                                                             flt
                                                                                                                                                                               T
                                                                                                                                                                               lj
                                                                                                                                                                                ra
                                                                                                                                                                                 l:l
                                                                                                                                                                                   e(sf
                                                                                                                                                                                      vtg
                                                                                                                                                                                     ha yt
                                                                                                                                                                                         tr
                                                                                                                                                                                          l
                                                                                                                                                                                          mr
                                                                                                                                                                                           di
                                                                                                                                                                                            snpI
                                                                                                                                                                                               hf@tlnj
                                                                                                                                                                                             tmd     rds
                                                                                                                                                                                                      tlns
                                                                                                                                                                                                         ef
                                                                                                                                                                                                          gfl
                                                                                                                                                                                                          r )f
  pfovlde11p1,pps*lic.parsonalInfpfmajfpq (jQn;lfesptlfd Ipth@efnallandimmediglelyca11youfR(+IErlaleAsloclaîeorE&%,1Re;'ty'al2Q5.F(D.2:Q0.



From :Steven Helfapd ql4oostevep.hçlfand@gmall,com>
Sent:W ednesday,November6,20198:j1AM
To:M arcelosteinmander<steinmander-m@ ewm.com>;Nayla Benitezxbenitez.n@ ewm ,com>;AnitaCachaldora
qcachaldoraa@ ewm.com>;ChrisBasick<baslck.c@ewm . com>;DeniseSictlso xsictlso,d@ ewm .com>
Subject:Fwd:StevenHelfandEJP
Pleasetake noticeofthe below. EW M shallbea named party,

        FOFWQFUQU IXQSSQZQee/e
e-em -o-new.w...p
                             ve
                              mwz
                                pe
                                 *em'
                                    e-
From :Steven Helfand ql4oosteyqn,helfpnd@ gmail.com>                        -

Date:W ednesday,November6,2019
Sqbject;steven HelfandEJP
To:''Steinmander,m @ ewm.com 'qsteînm ppder.m@ ewm.çpm/
Cc:''Alcardet@ gmail.com''dAlcardet@ gmail.com>


M arcello:

Thisconfirmsmytelephonecallto yotlearjierthismofninginwhichyou indicated yot!were relyingonyourattorney,al
Cardet, to handleaIIm attersonyouraccountarld accord with regard to aI1m attersarising orrejatingto me.You hung
up on meshortlyAfterrelating thisinformation to me andafterltoldyou thatlhad leftm ultiplevoicemailmessagesfor
the attorney,sentanemallanda certlfled Ietterto M r.Cardet.forw hlch noneofwhich had received thecoertesyof
anyresponse. IadvisedyouthatIwonld befilingalawsuiton Frlday and you shallbe anamedparty.

lalso reached outto Edafterwardsand he hung vp ol)m etoo.Icalled baciiptohisIîne and expressed my
disappointmentthathewasnotable to handlethe courtesyofesim ple conversation with me especiall y regarding the
factthashehasconverted mypersonalpropefsyajongwithyotlandyourattorney an4 hisagenlsareaIjnon responsive,
Please send acopyofthlsemailto Ed.Thissortofweaselapproach isakinto anostfichw ilhItshead inthesand.You
people have stolenpropertyofm ine.There isnoexcqse forthisontrageonscopdnct.No excnseisacceptableeThe
propertywasneverabandoned.

   ID- MS-EW M 000353                                                                                 î                                                                       iD -M S-EW M 000353
